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       >;91/19.1>       @;&1<@19.1>          @41 ;<1F$!!#*188?->3;

-//;A:@1:05:3   >1/15B10-<<>;D59-@18E 2>;95:B1?@;>?'412A:0?>1/15B10

.EC5>1@>-:?21>;>181/@>;:5/01<;?5@@;@-810-<<>;D59-@18E      '412A:0?01<;?5@10

B5-/41/7@;@-810-<<>;D59-@18E      '412;88;C5:3@-.81?A99->5F1?@41-/@5B5@E5:

    ;<1F$!!#*188?->3;-//;A:@     




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        Case 3:21-mb-04346-CDB Document 1-1 Filed 11/08/21 Page 7 of 86

                                                                                                                
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37+7-3+57;<3<=<387)/55;+:18+74
--8=7<"+6/827$ 89/B$/:;87+5!87/A!+7+1/6/7<
--8=7<85./:827$  89/B
--8=7<       
&<+</6/7<$/:38.                   
                                                    /1 +5+7-/                 
+</18:A                                            &=680%'             &=680'
'! :+7-2-=::/7-A?3<2.:+?+5                                                          
+74//;                                                  
2+:5/;&-2?+,           827$ 89/B                                
2/-4-89A78<9:8>3./.                                                        
:/.3<+:..>+7-/ $+A6/7<                                
:A9<8=::/7-A                                                         
=::/7-A/98;3<                                     
/98;3<-89A78<9:8>3./.                           
/98;3< )3:/%/<=:7                                                    
7;=:+7-/                                                                       
7</:7+5':+7;0/:;)                                        
  8-+58>/:76/7<                                                                
#7/*(           827$ 89/B$!!#   
#<2/::/.3<                                          
$+A6/7<837869+73/;                                      
$+A6/7<7>/;<8:;                                             
$+A6/7<!3;-/55+7/8=;                               
$+A:855                                                                         
$8;<+5&/:>3-/;                                                                  
%/7<                                                                                   
%/<+35!/:-2+7< &/:>3-/;                                                          
'+@/;                                                          
(<353<3/;                                                                        
)537/80-:/.3<                                          
)537/80-:/.3<                                                           
)!+:387827 89/B                                             
)3<2.:+?+5-89A78<9:8>3./.                                                   
                                                            

                                                              7.371+5+7-/             

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         Case 3:21-mb-04346-CDB Document 1-1 Filed 11/08/21 Page 8 of 86

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       >;9!->/4        @;&1<@19.1>            @41 ;<1F$!!#*188?->3;-//;A:@

1:05:3 >1/15B10-<<>;D59-@18E               5:/41/7<-E91:@?2>;95:B1?@;>?'41

2;88;C5:3@-.81?A99->5F1?@41-/@5B5@E5: ;<1F$!!#-//;A:@ 



/3'3)/'1378/898/43&+117'6-4'30
))4938!'2+4.3"45+="+6743'1 43+< '3'-+2+38
))493841*+64.3" 45+=
))4938         
$8'8+2+38"+6/4*            

                                                 +- '1'3)+                  
'8+-46<                                         $924,#%                $924,%
% 6'3).)966+3)<;/8.*6';'1                                                             
'30++7                                                            
.'61+7$).;'(         4.3"45+=                                                    
6<584966+3)<                                                                             
966+3)<+547/8                                  
+547/8)45<348564:/*+*                          
38+6+78                                           
38+63'1%6'37,+67&                                 
"'<2+384/3425'3/+7                                            
"'<2+383:+78467                                            
"'<2+38 /7)+11'3+497                             
& '6/434.345+=                                                        
&/8.*6';'1)45<348564:/*+*                                                    
                                                          

                                                  3*/3-'1'3)+                   

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        ;<1F-:045?C521!->5;: ;<1F! ;<1F-8?;9-5:@-5:-<1>?;:-8*188?->3;

-//;A:@C5@48-?@2;A>0535@?   -C1:2;>/191:@-:-8EF10-/@5B5@E5:@45?-//;A:@>;9A8E

        @;#/@;.1>       -//;A:@  >1/15B10-<<>;D59-@18E   5:2A:0?

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              (%'&  
')$%                (%'& 
  &)#'###      ')$%


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       Case 3:21-mb-04346-CDB Document 1-1 Filed 11/08/21 Page 9 of 86

                                                                                                   
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@>-:?21>?2>;9*188?->3;-//;A:@1:05:3   -:0         5:2A:0?@>-:?21>?2>;9*188?

->3;-//;A:@1:05:3 *4581@41-:-8E?5?>1B1-810       5:2A:0?@>-:?21>?2>;9

<1>?;:-8-//;A:@  @; ;<1F$!!#-//;A:@             C-?2>;9-?5:381@>-:?21>

;:!-E      '412A:0?;>535:-@102>;9-:5:B1?@;>/41/701<;?5@10;:!-E          @41

2;88;C5:30-E@412A:0?;2@45?/41/7C1>1@>-:?21>>10@;-//;A:@ $1>?;:-8-//;A:@  

-8?;>1/15B10    5:5:B1?@;>2A:0?2>;9 ;<1FJ?B;8B1-:7-//;A:@'412;88;C5:3@-.81

?A99->5F1?-/@5B5@E5:-//;A:@  




                                                                                        
      Case 3:21-mb-04346-CDB Document 1-1 Filed 11/08/21 Page 10 of 86

                                                                                                             
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15*5+1*359:1:;:165(-339*8/6*52
++6;5:!*4- *8165%67-@605#67-@
++6;5:63,-8 *8165%67-@605#67-@
++6;5:          
++6;5:&?7-#-8965*3+0-+215/
%:*:-4-5:#-816,             


                                                          -/*3*5+-               
*:-/68?                                                  %;46.$& %;46.&
& 8*5+0;88-5+?(1:0,8*=*3                                    
*52--9                                                         
0-+2+67?56:786<1,-,                                                               
8-,1:*8,,<*5+- #*?4-5:                                              
8?7:6;88-5+?                                                                         
;88-5+?-7691:                                             
-7691:+67?56:786<1,-,                                   
1515/ 86+-81-9                                                                      
,;+*:165                                                                             
59;8*5+-                                                                              
6*5#*?4-5:                                                         
6+*36<-854-5:                                               
  -,1+*3                                                         
"5-)'               *8165%67-@605#67-@     
"<-8,8*.:(15-6.+8-,1:                           
#*?4-5:615647*51-9                                                              
#*?4-5:5<-9:689                                             
#*?4-5: 19+-33*5-6;9                                         
#*?8633                                                     
$-:*13 -8+0*5: %-8<1+-9                                         
&*>-9                                                              
&8*59.-8;5256=5(*++6;5:                               
':131:1-9                                                                            
(605#67-@#-8965*3 65-? *5*/-4-5:                        
(605#67-@#-8965*3 65-? *5*/-4-5:            
(605#67-@#-8965*3 65-? *5*/-4-5:                 
(315-6.+8-,1:                                                 
(315-6.+8-,1:                                                                   
(1:0,8*=*3+67?56:786<1,-,                                                             
                                                              


                                                          5,15/*3*5+-                    




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          Case 3:21-mb-04346-CDB Document 1-1 Filed 11/08/21 Page 11 of 86

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        ?01@-58105:,, #&!', ;<1F;<1:10-//;A:@?C5@4$-EC->0)1:@A>1?:/

0;5:3.A?5:1??-?>-71:-:0B;8B1-:7-:0'>A?@%1/;>0?2>;9$-EC->0-:0B;8B1?4;C

@4-@ ;<1F<>;B501045?<1>?;:-85:2;>9-@5;:@;;<1:@41-//;A:@?5:/8A05:345?>5F;:-

0>5B1>J?85/1:?1-:04;91-00>1??'415:B1?@53-@5;:>1B1-810@4-@@41B;8B1-//;A:@>1/15B1?

01<;?5@?5:(:5@10&@-@1?;88->?-:0@412A:0?->1@>-:?21>>10@;@41/;::1/@10>-71:-//;A:@

2@1>-A?1>J?>-71:-//;A:@>1/15B1?(&;88->?2>;9B;8B1;>-:;@41>;2$-EC->0J?

.-:75:3<->@:1>?@412A:0?/-:.1@>-0105:@;-:0.1@C11:B5>@A-8/A>>1:/51?>-71:4;80?

B5>@A-8/A>>1:/51?;:.14-82;2A?1>?

        >;95:;>-.;A@";B19.1>       @;5:;>-.;A@A3A?@      ;<1FJ?>-71:-//;A:@

 " (!>1/15B10-<<>;D59-@18E                  2>;9 ;<1F$!!#*188?->3;

-//;A:@      '41>-71:-//;A:@-8?;>1/15B10-<<>;D59-@18E   2>;9 ;<1FJ-:0!

    ;<1FJ?<1>?;:-8*188?->3;-//;A:@  <<>;D59-@18E         C-?@>-:?21>>102>;9@41

>-71:-//;A:@.-/7@;*188?->3;-//;A:@          

       :;>-.;A@A3A?@      ;<1FJ?>-71:-//;A:@ " (!/;:@-5:10

-<<>;D59-@18E        -:0@412;88;C5:3B5>@A-8/A>>1:/51? 5@/;5:  @41>1A9  

    5@1/;5:-:0  5@/;5:-?4

       ?01@-58105:,, #&!', ;<1F/8-59?@;<>;B501<1>?;:-85:B1?@91:@?1>B5/1?

@4>;A34$!!#?<1/525/-88E ;<1F>1<>1?1:@?@4-@$!!#/;:@>-/@?C5@44->81?&/4C-.@;

5:B1?@/851:@2A:0? ;<1F2A>@41>/8-59?@4-@$!!#31:1>-@1?>1@A>:?5:1D/1??;2@419->71@

.EA?5:3-@595:39;018@;<>105/@C41:@;.AE-:0?1881D/4-:31@>-0102A:0?01.@-:0;>

.;:0?;C1B1>E;A>-225-:@J?>1B51C;2$!!#-:0 ;<1FJ?-//;A:@?050:;@>1B1-8@>-01?

-:0;>>1@A>:?/;:?5?@1:@C5@4 ;<1FJ?>1<>1?1:@-@5;:???A/4?A.95@@41>15?<>;.-.81/-A?1

@;.1851B1@4-@ ;<1FB5;8-@10 (&G       .E2>-A0A81:@8E>1/15B5:35:B1?@;>2A:0?.EC5>1




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5:B1?@91:@3-5:?.E<>;B505:3-//;A:@?@-@191:@?-:05:B1?@91:@A<0-@1?@4-@C1>19-@1>5-88E

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 ;<1F7:1C@412A:0?C1>1<>;/110?;2?;912;>9;2A:8-C2A8-/@5B5@EE<8-/5:3@412A:0?5:

45?<1>?;:-8B5>@A-8/A>>1:/E1D/4-:31-//;A:@ ;<1F/;:/1-810@41?;A>/1;2@412A:0?-?

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5:@;B->5;A?B5>@A-8/A>>1:/51?2A>@41>/;:/1-85:3@41?;A>/1-:0:-@A>1;2@412A:0?-?(&




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        ATTACHMENT A
       Case 3:21-mb-04346-CDB Document 1-1 Filed 11/08/21 Page 15 of 86

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               #C7A;J>?I7<<?:7L?J?DIKFFEHJE<7D7FFB?97J?EDKD:;H,KB;E<J>; ;:;H7B,KB;I

E<H?C?D7B*HE9;:KH;<EH7M7HH7DJJEI;7H9>J>;FH;C?I;IBE97J;:7J7IJJ>L; -K?J;

 B7=IJ7<<  H?PED7   JE ?D9BK:; 7  K:?  H?PED7 &?9;DI; *B7J; & %  7 

.EOEJ7,KDD;HH?PED7&?9;DI;*B7J; &,.,%, 7D:(?II7D.HK9AH?PED7&?9;DI;*B7J;

32>;H;7<J;HH;<;HH;:JE7ITJ>;,;I?:;D9;U <KHJ>;H:;I9H?8;:?DJJ79>C;DJ <EHJ>;

?J;CI:;I9H?8;:?DJJ79>C;DJ 

               #7C7-F;9?7B=;DJE<J>; ;:;H7BKH;7KE<#DL;IJ?=7J?ED # 7D:>7L;8;;D

;CFBEO;:?DJ>?I97F79?JO<EHEL;HI?NO;7HI #7C9KHH;DJBO7II?=D;:JEJ>;B8KGK;HGK;?L?I?ED

E<J>; # 1>?J;EBB7HH?C;-GK7: 7D:>7L;FH?C7HO?DL;IJ?=7J?L;H;IFEDI?8?B?JO<EHFK8B?9

9EHHKFJ?ED7D:<?D7D9?7B9H?C;I .>HEK=>EKJCO97H;;H7I7-F;9?7B=;DJM?J>J>; # #>7L;

9ED:K9J;:?DL;IJ?=7J?EDI?DLEBL?D=<?D7D9?7B9H?C;IJE?D9BK:;97I;I?DLEBL?D=M?H;<H7K: C7?B

<H7K: CED;OB7KD:;H?D= 7D:J>;<J<HECJ>;/D?J;:-J7J;I!EL;HDC;DJ/-! 



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              #C7A;J>?I7<<?:7L?J87I;:EDF;HIED7BADEMB;:=; H;L?;ME<;L?:;D9;E8J7?D;:

7D:?D<EHC7J?EDFHEL?:;:8OM?JD;II;I 9EEF;H7J?D=M?JD;II;I 7D:EJ>;HIEKH9;I .>;?D<EHC7J?ED

?DJ>?I7<<?:7L?J?I<EHJ>;B?C?J;:FKHFEI;E<;IJ78B?I>?D=FHE878B;97KI;<EHJ>;H;GK;IJ;:-;7H9>

7D:-;?PKH;17HH7DJ7D::E;IDEJ?D9BK:;;L;HO:;J7?BE<J>;?DL;IJ?=7J?ED #>7L;EDBOI;J<EHJ>

J>;IF;9?<?9<79JIJ>7J#8;B?;L;7H;D;9;II7HOJE;IJ78B?I>FHE878B;97KI;JEI;7H9>J>;FH;C?I;I

:;I9H?8;:?DJJ79>C;DJ<EHJ>;?J;CI:;I9H?8;:?DJJ79>C;DJ 

              7I;:EDCOJH7?D?D=7D:;NF;H?;D9;7D:J>;<79JII;J<EHJ>?DJ>?I7<<?:7L?J #IK8C?J

FHE878B;97KI;;N?IJIJ>7JL?EB7J?EDIE</ -  Q'7?B H7K:/ -  Q1?H;

 H7K:/ -  QEDIF?H79O/-Q?:?D=7D:8;JJ?D=/ -  Q'ED;O

&7KD:;H?D=  / -   Q  D=7=?D= ?D 'ED;J7HO .H7DI79J?EDI ?D *HEF;HJO ;H?L;: <HEC

-F;9?<?;:/DB7M<KB9J?L?JO7D: EH/ -  Q-;9KH?J?;I H7K:>7L;8;;D9ECC?JJ;:8O

$E>D&EF;P$ &EF;P 7D:EJ>;HIADEMD7D:KDADEMDJEC; #IK8C?JFHE878B;97KI;7BIE;N?IJI

JEI;7H9>J>;FH;C?I;IBE97J;:7J7IJJ>L; -K?J; B7=IJ7<< H?PED7 JE?D9BK:;

7K:?H?PED7&?9;DI;*B7J;& % 7.EOEJ7,KDD;HH?PED7&?9;DI;*B7J;

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'ED;O&7KD:;H?D=7D:EDIF?H79OI9>;C;?DJ>;?IJH?9JE<H?PED77D:;BI;M>;H; KH?D=J>?I

?DL;IJ?=7J?ED 7=;DJI?:;DJ?<?;:$ &EF;P7IJ>;B;7:;HE<J>;?DL;IJC;DJI9>;C;<KHJ>;H:;I9H?8;:

?DJ>?I7<<?:7L?J $ &EF;PH;FH;I;DJI>?CI;B<JE8;J>;*H;I?:;DJ7D: EKD:;HE<*;HIED7B'ED;O

'7D7=;C;DJ ECF7DO *'')  $  &EF;P 9ED:K9JI >?I ?DL;IJC;DJ <H7K: I9>;C; J>HEK=>

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?DL;IJC;DJCE:;B>;9H;7J;:O;7HI7=E "EM;L;H 7I:?I9KII;:B7J;H?DJ>;7<<?:7L?J $ &EF;PWI7D:

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H;FH;I;DJ7J?EDI  ,7J>;H $  &EF;PWI 7D: *'')WI 799EKDJI H;L;7B 7 9EC?D=B?D= E< ?DL;IJEHIW

CED;O ?DL;IJEHIWCED;O=E?D=JE9E?DI>EFI<EHFKH9>7I;I F7OC;DJIJEEJ>;H?DL;IJEHI JH7DI<;HI

JE$ &EF;PWIF;HIED7B>7HB;I-9>M78?DL;IJC;DJ799EKDJ 9KHH;D9OM?J>:H7M7BI 7D: EHJH7DI<;HI

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9EDI?IJ;DJ 7I EIJ;DI?8BO J>; H;7IED <EH J>; 9EDJH?8KJ?ED JE $  &EF;P 7D: EH *'') ?I <EH

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8;B?;L;J>;?DL;IJEHI7H;L?9J?CI 2EKH7<<?7DJ>7IDEJ?DJ;HL?;M;:;L;HO?DL;IJEH *'')?I

79J?L;BOH;9HK?J?D=D;MT?DL;IJEHI U

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E8I;HL;:CKBJ?FB;L;>?9B;IH;=?IJ;H;:JE$ &EF;P7J '7JJ;H>EHDH?L;?D-;FJ;C8;H 

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M7I?IIK;:7DH?PED7:H?L;HWIB?9;DI;?D'7H9> .>7J:H?L;HWIB?9;DI;B?IJI>?IH;I?:;D9;7I

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C7D7=;H7J*'') 2EKH7<<?7DJH;L?;M;:H?PED7'EJEH0;>?9B;?L?I?EDH;9EH:II>EM?D=' 

&EF;PM7I?IIK;:7DH?PED7:H?L;HWIB?9;DI;?DFH?B .>7J:H?L;HWIB?9;DI;B?IJI>;HH;I?:;D9;

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H?PED7'EJEH0;>?9B;?L?I?EDH;9EH:IH;L;7B;:L?D7M7I?IIK;:7DH?PED7:H?L;HWIB?9;DI;?D

;9;C8;H .>7J:H?L;HWIB?9;DI;B?IJI>;HH;I?:;D9;7I-.;N&D B7=IJ7<< H?PED7

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J>;EDBOB?IJ;:?H;9JEH<EH*'')7JJ>;J?C;E<?D9EHFEH7J?ED JJ>;J?C;E<?D9EHFEH7J?ED J>;

B?IJ;:7::H;II<EH*'')M7I-7H7JE=7L;DK;-7D$EI; 7B?<EHD?7 99EH:?D=

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-7B;I .7N7D:)99KF7J?ED7BKI?D;II&?9;DI;FFB?97J?EDUM?J>J>;?JOE< B7=IJ7<< H?PED7 

:7J;:$KBO  .>;FFB?97J?EDM7I<EH7D;M8KI?D;II7D:J>;D7JKH;E<J>;8KI?D;IIM7I

B?IJ;: 7I T ?D7D9?7B EDIKBJ?D=U $  &EF;P M7I J>; EDBO ?D:?L?:K7B B?IJ;: 7I 7D EMD;H  F7HJD;H 

?D:?L?:K7B EH&&C;C8;H .>;7::H;IIB?IJ;:EDJ>;7FFB?97J?ED<EHT*''E UM7I*)EN

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9?JOE< B7=IJ7<<?IIK;:7KI?D;II&?9;DI;JET$E>D* &EF;PU:E?D=8KI?D;II7I:87 *;HIED7B

'ED;O'7D7=;C;DJE M?J>78KI?D;IIBE97J?ED L;-J; B7=IJ7<< H?PED77D:

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=;DJIE8I;HL;:7D?D:?L?:K7B8;B?;L;:JE8;$ &EF;P?DJ>;F7HA?D=BEJE<7IJ L; 

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9;HJ?<?97J; E< :;FEI?JI M?J> 7 =K7H7DJ;;:  O?;B:  1>?B; $  &EF;P 9EKB: 8; 9EDI?:;H;: 7

9ECF;J?JEHJE,' #9EDI?:;HJ>;?D<EHC7J?ED,'FHEL?:;:JE8;H;B?78B;8;97KI;CK9>E<J>;

?D<EHC7J?ED M7I 9EHHE8EH7J;: J>HEK=> EJ>;H H;9EH:?D=I 7D: EH :E9KC;DJI E8J7?D;: ?D J>;

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        Case 3:21-mb-04346-CDB Document 1-1 Filed 11/08/21 Page 20 of 86

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             2EKH7<<?7DJ7D:EJ>;HIF;H<EHC;:7<?D7D9?7B7D7BOI?IED799EKDJI7IIE9?7J;:M?J>

$ &EF;P7D:*'') .>;799EKDJI?D9BK:;:*'')WI8KI?D;II799EKDJI $ &EF;PWIF;HIED7B

799EKDJI  7D: $  &EF;PWI ?DL;IJC;DJ 799EKDJI  7I;: ED J>; 7D7BOI?I  JME 7::?J?ED7B *'')

799EKDJIM;H;?:;DJ?<?;:7J1;BBI 7H=E7DA799EKDJI;D:?D=?D7D: 7IM;BB7IED;

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7J>7HB;I-9>M78799EKDJI;D:?D=?D7D: 7D:ED;7J*7OM7H:0;DJKH;I LEBL;7DA

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(!*(,%4/$%*                                  :AE1@BE3GC         :6?D?1AF@3DG7
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/$%*5 %,)*&()                                          :?E1ABB1@??3CF              :6D1?B@1>A@3BD7
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.)                                                        :?A1E??3@F         :6?EC1EB>3GE7
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*'')  HECEDEH78EKJ;9;C8;HJEEDEH78EKJ-;FJ;C8;H J>;JME*'')


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799EKDJI JEEA ?D 7FFHEN?C7J;BO     <HEC ?DL;IJEHI 7D: F7?: EKJ 7FFHEN?C7J;BO

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7FFHEN?C7J;BO     M7I H;9;?L;: <HEC 9E?D 9ECF7D?;I  -;; 9>7HJ 8;BEM M>?9>

H;FH;I;DJID;JFKH9>7I;I I7B;IJEJ>;9ECF7D?;I 

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!                           *&/1#-2-$--' *&.-#54-$.-'                                                                                                             *&01#6/-$.-'
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                        ,EKJ;E?DEBB;9J?8B;IFH;L?EKIBOEF;H7J;:7IC;H?97DKBB?EDE?D 

.>;O7H;BE97J;:?D B7=IJ7<< H?PED7 *;HJ>;?HM;8I?J; EDEH78EKJ-;FJ;C8;H  KD:;H

J>;?HT8EKJ/IUI;9J?ED?JIJ7J;I TR1>;DOEK?DL;IJM?J>,EKJ;E?DEBB;9J?8B; &&

OEKJ7A;F>OI?97BFEII;II?EDE<E<OEKH?DL;IJC;DJR U.>;?HM;8I?J;KD:;HT)KH-;HL?9;IU

:;I9H?8;IJ>7J TJ,EKJ;E?DEBB;9J?8B;I &&EKHIJ7<<?I>;H;JE>;BF;:K97J;7D:7II?IJ

EKH9B?;DJIM?J>FH;9?EKIC;J7BI7D:H7H;9E?D?DL;IJ?D=R)KH;NF;H?;D9;:IJ7<<?I>;H;JE7:L?I;

OEK?DC7A?D=J>;H?=>J?DL;IJC;DJ:;9?I?EDIIF;9?<?9JEOEKHF;HIED7BI?JK7J?EDR U

                        IE<7FFHEN?C7J;BO-;FJ;C8;H  J>;?I9EKDJ!EB:7D:-?BL;H.H7:?D=

M;8I?J; B?IJI 7 * )  EN ?D ;HB?D  '7HOB7D:  /D:;H J>; T +U I;9J?ED E< J>;?H M;8I?J;  ?J

H;FH;I;DJI  T1; FHEL?:; 7BB <EHCI E< FH;9?EKI C;J7BI ?D9BK:?D= =EB:  I?BL;H  FB7J?DKC 7D:

F7BB7:?KCRU KHJ>;H J>;OE<<;HT-;B< :?H;9J;:*H;9?EKI';J7BI#, U

                           HECEDEH78EKJ;9;C8;H JEEDEH78EKJ$KBO JH7DI<;HIJE$ &EF;PWI

F;HIED7B >7HB;I -9>M78 799EKDJI  7D:  JEJ7B;: 7FFHEN?C7J;BO     

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       Case 3:21-mb-04346-CDB Document 1-1 Filed 11/08/21 Page 23 of 86

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FFHEN?C7J;BO    M7I JH7DI<;HH;: 879A <HEC $  &EF;PWI -9>M78 799EKDJ  JE

*'')WI1;BBI 7H=E .>;EDBOJH7DI<;HIJE7>7HB;I-9>M78799EKDJ<HECJ>;78EL;

*'') 1;BBI 7H=E 799EKDJI  7D:   M;DJ JE $  &EF;PWI F;HIED7B >7HB;I -9>M78

799EKDJ   FFHEN?C7J;BO    ?D 9KHH;D9O M7I M?J>:H7MD 7D: 7FFHEN?C7J;BO

  M7IF7?:JE9H;:?J97H:9ECF7D?;I 

+!%"%,)-.%*)-


              )D EH 78EKJ '7H9>     &  7D ?DL;IJEH  M?H; JH7DI<;HH;: 7FFHEN?C7J;BO

  ?DJEED;E<*'')WI1;BBI 7H=E799EKDJI 7DAH;9EH:II>EMJ>7JFH?EHJE&WI

:;FEI?J  *'')WI 9EC8?D;: 1;BBI 7H=E 87B7D9; M7I 7FFHEN?C7J;BO     )D EH 78EKJ

'7H9>  *17D:$1 M>E7H;8;B?;L;:JE8;?DL;IJEHI :;FEI?J;:7FFHEN?C7J;BO 

?DJEJ>;1;BBI 7H=E*')799EKDJ .>;C;CEEDJ>;9>;9AM7ITBB1;7J>;H-JH7J;=O U

 HEC ED EH 78EKJ '7H9>     JE '7H9>     EJ>;H ?DL;IJEHI :;FEI?J;: 7FFHEN?C7J;BO

 ?DJE1;BBI 7H=E*'')799EKDJI  HECEDEH78EKJ'7H9>  JEEDEH78EKJ'7H9>

  7D?D:?L?:K7B?D?J?7J;:7JH7DI<;HE<7FFHEN?C7J;BO JE$ &EF;PWI7D:' $ &EF;PWI

F;HIED7B1;BBI 7H=E799EKDJ .>;CED;O:;FEI?J;:?DJE$ &EF;PWI799EKDJM7IKI;:

JEI;D:JMEM?H;JH7DI<;HIE< ;79>JE$ &EF;PWI*7OM7H:0;DJKH;799EKDJ 

              )D EH 78EKJ (EL;C8;H     2  7D ?DL;IJEH  :;FEI?J;: 7FFHEN?C7J;BO

  ?DJEED;E<*'')WI1;BBI 7H=E799EKDJI *H?EHJEJ>;:;FEI?J *'')WI1;BBI

 7H=E799EKDJI>7:79EC8?D;:D;J87B7D9;E<   2WI:;FEI?J8HEK=>JJ>;*'')WI

1;BBI 7H=E 9EC8?D;: 799EKDJI 87B7D9; JE 7FFHEN?C7J;BO     HEC ED EH 78EKJ

(EL;C8;H     JE ED EH 78EKJ ;9;C8;H     DE 7::?J?ED7B :;FEI?JI M;H; C7:; ?DJE

*'')WI 1;BBI 7H=E 799EKDJI J>;H;<EH; 2WI :;FEI?J 9EDIJ?JKJ;: J>; C7@EH?JO E< <KD:I ?D

*'')1;BBI 7H=E799EKDJI:KH?D=J>?IF;H?E: )DEH78EKJ;9;C8;H  7M?H;JH7DI<;H


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          Case 3:21-mb-04346-CDB Document 1-1 Filed 11/08/21 Page 24 of 86

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
E< 7FFHEN?C7J;BO   M7I I;DJ <HEC *'')WI 1;BBI 7H=E 799EKDJ  JE $  &EF;PWI

>7HB;I-9>M78799EKDJ 

              )DEH78EKJ'7H9>  $0 7D?DL;IJEH :;FEI?J;:7FFHEN?C7J;BO 

?DJEED;E<*'')WI1;BBI 7H=E799EKDJI *H?EHJEJ>;:;FEI?J *'')WI9EC8?D;:1;BBI

    7H=E 799EKDJI >7: 7 D;J 87B7D9; E<     8H?D=?D= J>; *') 1;BBI 7H=E 9EC8?D;:

87B7D9;JE7FFHEN?C7J;BO    HECEDEH78EKJ'7H9>  JEEDEH78EKJ'7H9> 

  DE 7::?J?ED7B :;FEI?JI M;H; C7:;  )D EH 78EKJ '7H9>     7 M?H; JH7DI<;H E<

7FFHEN?C7J;BO M7II;DJ<HEC*'')WI1;BBI 7H=E799EKDJJE$ &EF;PWI>7HB;I

-9>M78799EKDJ 

$,'!-$1        


              2EKH7<<?7DJH;L?;M;::E9KC;DJIE8J7?D;:<HEC>7HB;I-9>M78H;B7J;:JE799EKDJ

;D:?D=?D -9>M78FHEL?:;:7:E9KC;DJJ?JB;:T)F;D7-9>M7899EKDJ.E:7OUM>?9>B?IJ;:

J>;799EKDJ>EB:;H7IT$E>D* &EF;PU7D:>EC;7::H;II '7JJ;H>EHDH  B7=IJ7<< H?PED7

 $ &EF;PB?IJ;:>?IE99KF7J?ED7IT'%.#(!'!,U7JT-/('#,)-2-.'-U?D*7BE

BJE 7B?<EHD?7 -;;8;BEM<EHIKCC7HOE<>7HB;I-9>M78 




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       Case 3:21-mb-04346-CDB Document 1-1 Filed 11/08/21 Page 25 of 86

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              !& % - ! %# !"+
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              !& %5-     8<=9
              !& %*"-( 
              %% %#!-8@/89/:89908>/;8/:8:9
                                                            .            4;<,;;?.==
              %!#*                                      &!  &! 
               "!$%0#!#!#                                        41:?,@88.882
               $                                      49?=.88 419@:.982
              $'                                   4;,9=<.<;
                &! '$% %$                  49>,:?=.@: 41?A,A?=.?>2
              0!"* !%"#!'                                            41;>,888.882
              ) #& &#$/             4>,?>:,=;A.>> 41>,?>:,=;A.>>2
                %#$%#                                 4AA<.:9
              * %0! !" $                                             41;>?,@8?.A92
              # $#0#$(       >@8>          4:?,@88.88
              $#!        @A>90 !  !"+        4:<<,888.88
              $#!     =@9;0 !  !"+           4@?=,888.88 41=88,888.882
                                                            
                                                                49@A,A?9.:< 

              I ?BBKIJH7J;: 78EL;  <HEC ?D EH 78EKJ K=KIJ   JE ?D EH 78EKJ $KD;  

7FFHEN?C7J;BO   M7I JH7DI<;HH;: ?D <HEC *'')WI 1;BBI 7H=E  799EKDJ 7D:

7FFHEN?C7J;BO   M7I JH7DI<;HH;: ?D <HEC *'')WI 1;BBI 7H=E 799EKDJ  

FFHEN?C7J;BO   H;JKHD;: JE *'')WI 1;BBI 7H=E  799EKDJ  .>; 9>7D=; ?D

?DL;IJC;DJI H;FH;I;DJI JH7:;I C7:; M?J>?D J>; 799EKDJ  M>?9> >7: =7?DI E< 7FFHEN?C7J;BO

   7D: BEII;I E< 7FFHEN?C7J;BO     M>?9> D;JJ;: 7 BEII E< 7FFHEN?C7J;BO

   )DEH78EKJ(EL;C8;H  7FFHEN?C7J;BO  M7II;DJL?77M?H;

JH7DI<;HJEC;H?97DKBB?ED7D:E?D 

$,'!-$1        

              $ &EF;P>7:7I;9ED:>7HB;I-9>M78799EKDJ ;D:?D= M>?9>>7:787B7D9;

E<7FFHEN?C7J;BO  ?DEH78EKJK=KIJ 2EKH7<<?7DJH;L?;M;::E9KC;DJIFHEL?:;:


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         Case 3:21-mb-04346-CDB Document 1-1 Filed 11/08/21 Page 26 of 86

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
<HEC>7HB;I-9>M78<EH799EKDJ;D:?D=?D7D:J>;799EKDJM7IEF;D;:7I7T,EBBEL;H#,U

EDEH78EKJK=KIJ   HEC?DEH78EKJK=KIJ JEEDEH78EKJ$KD;  DE

CED;OM7IJH7DI<;HH;:?DJEJ>;799EKDJ .>;D;J9>7D=;?D?DL;IJC;DJI M>?9>H;FH;I;DJIJH7:;I

C7:; M?J>?D J>; 799EKDJ  D;JJ;: 7 BEII E< 7FFHEN?C7J;BO     #D EH 78EKJ $7DK7HO 7D:

    ;8HK7HO 7FFHEN?C7J;BO  M7IJH7DI<;HH;:JE$ &EF;PWI-9>M78799EKDJ 

21, ) 0*'0!)&) ,/-.

              2EKH 7<<?7DJ H;L?;M;: :E9KC;DJI E8J7?D;: <HEC *7OM7H: 0;DJKH;I  #D9  :87 7I

%H7A;D  KHJ>;HCEH;  OEKH 7<<?7DJ H;L?;M;: :E9KC;DJI <HEC LEBL; 7DA 7D: .HKIJ  *7OM7H:

0;DJKH;I>7I7FB7J<EHCJ>7J7BBEMI?D:?L?:K7BIJEJH7:;9HOFJE9KHH;D9O B?;DJI:;FEI?J/D?J;:

-J7J;IEBB7HI?DJE799EKDJI7JLEBL;7DA7D:.HKIJ M>?9>7H;J>;DJH7DI<;HH;:JEJ>;?H*7OM7H:

799EKDJI 

             )D EH 78EKJ -;FJ;C8;H     $  &EF;P EF;D;: 7D 799EKDJ M?J> *7OM7H:

    0;DJKH;I #D9  .>; 799EKDJ D7C; M7I T$E>D * &EF;P U 7D: >7: 7D 7::H;II E<  7IJ

    '7JJ;H>EHDH?L; B7=IJ7<< H?PED7 #DJ>;799EKDJEF;D?D=7D:L;H?<?97J?ED:E9KC;DJI 

    J>;H;M7I7DH?PED7:H?L;HWIB?9;DI;M?J>$ &EF;PWI?:;DJ?<?;HI 7IM;BB7I7D7::H;IIE<

    7IJ '7JJ;H>EHD H?L; B7=IJ7<<  H?PED7   #D J>; 799EKDJ EF;D?D= 7D: L;H?<?97J?ED

    :E9KC;DJI J>;H;M7I7?JOE< B7=IJ7<<:E9KC;DJJ>7J7FF;7H;:JE8;<EH9?JO8?BB?D=7D:>7:$ 

    &EF;PWID7C; 7IM;BB7IJ>;7IJ'7JJ;H>EHDH?L; B7=IJ7<< H?PED7 

               HEC ?D EH 78EKJ (EL;C8;H   JE ?D EH 78EKJ K=KIJ   7FFHEN?C7J;BO

  M7I:;FEI?J;:?DJE$ &EF;PWI*7OM7H:799EKDJ<HEC*'')WI1;BBI 7H=E

799EKDJ  FFHEN?C7J;BO    M7I :;FEI?J;: ?DJE $  &EF;PWI *7OM7H: 799EKDJ <HEC $ 

&EF;PWI7D:' $ &EF;PWIF;HIED7B1;BBI 7H=E799EKDJ -;;8;BEM<EH<KHJ>;H:?I9KII?ED

E<$ &EF;PWI7D:' &EF;PWIF;HIED7B1;BBI 7H=E799EKDJ )DEH78EKJ K=KIJ  


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         Case 3:21-mb-04346-CDB Document 1-1 Filed 11/08/21 Page 27 of 86

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
J>; L7BK; E< J>; 799EKDJ M7I 7FFHEN?C7J;BO     M>?9> ?I 7D KDH;7B?P;: D;J BEII E<

7FFHEN?C7J;BO   

              )DEH78EKJ(EL;C8;H  $ &EF;PEF;D;:7D799EKDJM?J>LEBL;7DA

7D:.HKIJ .>;:E9KC;DJIFHEL?:;:8OLEBL;7DA7D:.HKIJH;FH;I;DJJ>7JJ>;T*B7J<EHCUM7I

T%H7A;DUM>?9>?I7JH7:?D=FB7J<EHC<EH9HOFJE9KHH;D9O .>;799EKDJM7I7T*;HIED7BU799EKDJ 

    KHJ>;HCEH; OEKH7<<?7DJH;L?;M;:$ &EF;PWIK=KIJIJ7J;C;DJ<HECLEBL;7DA7D:.HKIJ

M>?9> H;L;7B;: 7D 7::H;II E< T  '7JJ;H>EHD H?L; B7=IJ7<<  3 U  CED= J>;

799EKDJ EF;D?D=F7F;HMEHA$ &EF;PIK8C?JJ;:JELEBL;7DA7D:.HKIJM7I7T+/,.,&2

-..'(.UFKHFEHJ?D=JE8;<HEC*;HIED7B'ED;O'7D7=;C;DJE ?D-7D$EI; 7B?<EHD?7 

-;; 9-.'.6   9-.'.6  I>EMI J>7J T$E>D *  &EF;P    '7JJ;H>EHD H?L; B7=IJ7<<  3

RU?IJ>;T&#(.U7D:J>7JJ>;7BB M;7J>;H<KD:H;JKHD;:  M>?B;-*#D:;N

H;JKHD;:    9-.'.6  7BIE >7: 7D TJJ;DJ?ED 'HI  "7P;B B7HAU OEKH 7<<?7DJ >7I DEJ

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              $ &EF;P7D:' &EF;P1;BBI 7H=E99EKDJ;D:?D=?IIKCC7H?P;:8;BEM 




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       Case 3:21-mb-04346-CDB Document 1-1 Filed 11/08/21 Page 28 of 86

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         Case 3:21-mb-04346-CDB Document 1-1 Filed 11/08/21 Page 29 of 86

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              .>;1;BBI 7H=E799EKDJ;D:?D=?D?BBKIJH7J;:78EL;7FF;7HIJE8;ED;E<J>;

FH?C7HOF;HIED7B799EKDJI<EH$ &EF;P7D:' &EF;P  HEC?DEH78EKJ-;FJ;C8;H JE?DEH

78EKJ$KBO J>;799EKDJ>7:7FFHEN?C7J;BO  E<9KHH;D9O:;FEI?J;:?DJE?J  HEC

?D EH 78EKJ '7H9>   JE ?D EH 78EKJ )9JE8;H     J>; 799EKDJ JEEA ?D 7FFHEN?C7J;BO

   <HEC ?DL;IJEHI  $  &EF;PWI 7D: '  &EF;PWI 1;BBI 7H=E 799EKDJ ;D:?D= 

H;9;?L;:7FFHEN?C7J;BO  <HEC*'')WI1;BBI 7H=E799EKDJI $ &EF;PWI7D:' 

&EF;PWI1;BBI 7H=E799EKDJ;D:?D=I;DJ7FFHEN?C7J;BO  JE*'')WI1;BBI

    7H=E799EKDJI IIK9> $ &EF;PWI7D:' &EF;PWI1;BBI 7H=E799EKDJ;D:?D=H;9;?L;:7

D;J:;FEI?JE<   <HEC*'')WI1;BBI 7H=E799EKDJI 

)!*/).-

              $ &EF;P7D:' &EF;P>7:79EC8?D;:F;HIED7B9>;9A?D=7J)D;3H;:?J/D?ED

799EKDJ;D:?D= $ &EF;P7D:' &EF;P>7:79EC8?D;:F;HIED7BI7L?D=I799EKDJ7J)D;3

H;:?J/D?ED799EKDJ;D:?D= *'')>7:ED;799EKDJ7J)D;3H;:?J/D?ED799EKDJ

;D:?D= $ &EF;PM7IJ>;799EKDJ>EB:;H :87*'') 

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H;9;?L;: JH7DI<;HI <HEC F;HIED7B I7L?D=I 799EKDJ ;D:?D=  E< 7FFHEN?C7J;BO    

C7:;CEHJ=7=;F7OC;DJIE<7FFHEN?C7J;BO  <EH '7JJ;H>EHDH  B7=IJ7<< 

7D:JH7DI<;HH;:7FFHEN?C7J;BO  JE$ &EF;PWI1;BBI 7H=E 

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M7I:;FEI?J;:?DJE799EKDJ<HEC-E9?7B-;9KH?JO 9KHH;D9OM7IM?J>:H7MDE<7FFHEN?C7J;BO

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7FFHEN?C7J;BO  M7IJH7DI<;HH;:<HECJE 

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?D 7FFHEN?C7J;BO    E< 9KHH;D9O :;FEI?JI ?DJE  7D: 7FFHEN?C7J;BO   

JH7DI<;HH;:<HECJE*')1;BBI 7H=E799EKDJ;D:?D= 

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B7CEI (;M';N?9E ,'7K:?EH;9EH:;:J>;FH;I;DJ7J?ED7D:FHEL?:;:?JJEJ>; # 2EKH7<<?7DJ

H;L?;M;:J>;H;9EH:?D=?D?JI;DJ?H;JO $ &EF;PFHEL?:;:J>;FH;I;DJ7J?ED7JJ79>;:7I9-.'.6 

.>; FH;I;DJ7J?ED B7OI EKJ 7 FKHFEHJ;: >?IJEHO E< *'')  *'')WI =E7BI 7D: E8@;9J?L;I 

>?IJEH?97B?DL;IJC;DJIH;JKHDIE<*'') ,'7BIEFHEL?:;:J>; #7:E9KC;DJE<*'')WI

T#DL;IJC;DJ*HE:K9J-KCC7HOU M>?9>?I7JJ79>;:7I9-.'.6 

            ,'FHEL?:;:7H;9EH:?D=E<J>;FH;I;DJ7J?EDH;<;H;D9;:?D*7H7=H7F> $ &EF;P

FHEL?:;:879A=HEKD:78EKJ>?CI;B< 7879A=HEKD:E<*'') 7DIM;H;:GK;IJ?EDI7D::;I9H?8;:

J>;?DL;IJC;DJIE<<;H?D=IE<*'') &EF;P;NFB7?D;:*'')KI;I>7HB;I-9>M787IJ>;

T9B;7H?D=>EKI;U<EH*'')WI?DL;IJEHIWJH7DI79J?EDI7D:J>;?DL;IJEHIWCED;O?I>;B:7J>7HB;I

-9>M78?D799EKDJI?DJ>;?HD7C; $ &EF;P;NFB7?D;:7C7HA;JJ?C?D=CE:;BJ>7J>;KJ?B?P;IM>?9>

=;D;H7J;H;JKHDICK9>>?=>;HJ>7DJ>;C7HA;J $ &EF;P;NFB7?DI>;?DL;IJI?DJ>;-*?D:;N;I

M>;DJ>;C7HA;J?I=E?D=KF "EM;L;H M>;DJ>;C7HA;J?I:;9B?D?D=>;CEL;I?DL;IJEHCED;OJE

JH;7IKHO8ED:I $ &EF;P;NFB7?D;:J>7JDED;E<>?I9B?;DJIBEIJ7F;DDO:KH?D=J>; IJE9A

C7HA;J 9H7I>  8;97KI; E< J>; 7<EH;C;DJ?ED;: CE:;B  $  &EF;P :;I9H?8;I 7 TU E<<;H;: 8O

*'')M>?9>=K7H7DJ;;I7H;JKHD8O?DL;IJ?D=?D7C?NE<JH;7IKHO8ED:I7D:J>;IJE9A

C7HA;J 


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       Case 3:21-mb-04346-CDB Document 1-1 Filed 11/08/21 Page 31 of 86

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              #DJ>;FH;I;DJ7J?ED $ &EF;PIJ7J;: ?>0)81))<40%-26-+,823;738,%89,738,%8

91-8B7-8B79,'0)%61;,%8-2:)78-2>*361='0-)287%2(,3;-2:)781)77)28-%00=91

8,639+,,%60)7',;%&;,-',-78,)'0)%6-2+,397)91%7;)00%78,)%791;,31;)'3286%'8

%2(91)77)28-%00=8,)=9,8,)=9,(38,)'0)%6-2+3*%008,)7)86%27%'8-327*3697%7;)00%74)6

9,4)6*361'9783(=%%,%2(%2(%(:-736=7)6:-')7!,)27%='9783(=8,%81)%278,%88,)132)=

8,%8 9, 8,%8 1= '0-)287 +-:) 1) ;) (32B8%'89%00=,30(!)&%7-'%00=;36/-2+;-8,9, ;-8,

,%60)7',;%&%2(314%2=8,)=&%7-'%00=,30(8,)132)=1%00;)7-140=(3-78,%8;)'%00

8,)1 %2( 7%= &9= 8,-7 36 7)00 8,%8>@ $  &EF;P 9EDJ?DK;: I7O?D=  TR;) ,%:) % '3286%'8 ;-8,

,%60)7',;%&918,%8132)=8,)2-7)77)28-%00=919186%27*)66)(83,%60)7',;%&;,3

8,)2,30(78,%8132)=-2=3962%1)-2-28,)-6&63/)6%+)-28,)-66)+-78)6)(&63/)6%+)>@$ 

&EF;P<KHJ>;HIJ7J;: ?!);390(+383,%60)7',;%&%2(34)28,)%''3928-2=3962%1);-8,

8,)1@

              $ &EF;PC7:;CKBJ?FB;IJ7J;C;DJI?DJ>;FH;I;DJ7J?EDJ>7JM>;D9B?;DJI?DL;IJM?J>

*'')  J>; CED;O ?I JH7DI<;HH;: ?DJE 799EKDJI >;B: M?J> >7HB;I -9>M78 ?D J>;?H D7C;  I

:;I9H?8;:78EL; JH7DI<;HI<HEC*'')WI799EKDJI7H;EDBOJE$ &EF;PWI>7HB;I-9>M78

799EKDJ 

               EH ;N7CFB;  ED EH 78EKJ K=KIJ     ,-  7D ?DL;IJEH  I;DJ 7FFHEN?C7J;BO

    L?7 7 87DA M?H; JH7DI<;H JE *'')WI 1;BBI 7H=E  799EKDJ  *H?EH JE J>;

:;FEI?J*'')WI9EC8?D;:1;BBI 7H=E799EKDJI87B7D9;M7I7FFHEN?C7J;BO   I

IK9> J>;C7@EH?JOE<J>;CED;OM?J>?D*'')WI1;BBI 7H=E799EKDJIM7I,-WI:;FEI?J OED

EH 78EKJ (EL;C8;H     *'')WI 9EC8?D;: 1;BBI 7H=E 799EKDJ 87B7D9;I M7I

7FFHEN?C7J;BO    HECEDEH78EKJK=KIJ  JEEDEH78EKJ(EL;C8;H  




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         Case 3:21-mb-04346-CDB Document 1-1 Filed 11/08/21 Page 32 of 86

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J>;H;M7I7FFHEN?C7J;BO  ?D:;FEI?JIJE*'')WI9EC8?D;:1;BBI 7H=E799EKDJI 

    EHJ>;I7C;J?C;F;H?E: J>;H;M7I7FFHEN?C7J;BO   ?DM?J>:H7M7BI 

                 7  .>;M?J>:H7M7BI?D9BK:;:
                               M?H;JH7DI<;HJE?I9EKDJ!EB:7D:-?BL;H.H7:?D=
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                            97H:
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                            97H:
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9EC8?D;: 1;BBI 7H=E 799EKDJI 87B7D9; M7I 7FFHEN?C7J;BO      I IK9>  7<J;H ,-WI

:;FEI?JJ>;C7@EH?JOE<J>;CED;OM?J>?D*'')WI1;BBI 7H=E799EKDJIM7I,-WI OEDEH

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7FFHEN?C7J;BO  ?D:;FEI?JIJE*'')WI9EC8?D;:1;BBI 7H=E799EKDJI  EHJ>;I7C;

J?C;F;H?E:J>;H;M7I7FFHEN?C7J;BO  ?DM?J>:H7M7BI 

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                           .H7:?D=
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             #D EH 78EKJ $KBO   $  &EF;P H;FH;I;DJ;: >; M7I 78B; JE >7L; 78EL; 7L;H7=;

H;JKHDI8;97KI;?>;)%6)-28,) ;,)28,)783'/1%6/)8-7+3-2+942(;,)28,)783'/

1%6/)8()'-()7-8;%28783'366)'891;)&%7-'%00=+)83983*8,) 2()<%2(;)13:)

-28386)%796=&32(7;,-',(32B81%/)%0383*132)=&=8,)17)0:)7&988,)=B6)7%*)@$ &EF;P

;NFB7?D;:J>7J>;M7I78B;JE8;7J7BBE<J>;9KHH;DJ87DAIE<<;H?D=IE<?DL;IJC;DJI8;97KI;

?>-8B7238=3968=4-'%08,%8)77)28-%00=+)87498-286)%796=&32(736+)87498-29,919,

'311)6'-%0'311)6'-%0()&836):)2+3:)621)28()&88B77791-8B7'%00)(%&)'%97)=39B6)

)77)28-%00= 03'/)( 94 9, %2( =39B6) +9%6%28))( 8,-7 *36 32) =)%6 #>$ 3;):)6 ;-8, 8,) 

=39B6)+322%6)')-:) 4)6')282(73;,%8;)&%7-'%00=(3-78,%8;))77)28-%00=*368,)

;)-2:)78-2-29,-2%1-<3*86)%796=&32(7%2(8,)783'/1%6/)8)4)2(-2+9432943291>;

;,%88,)6%8)7%6)8,%89,8,%88,%8=39.9785938)(;)B:)%91;)1-+,89,;)1-+,89,*%:36

918,)8,)*36)<%140)86)%796=&32(7136)8,%28,%2783'/&98-8B7&%7-'%00=%'31&-2%8-323*

&38,3-8B7238=39686%(-8-32%0@$ &EF;P<KHJ>;H;NFB7?D;: ?!)0091;)B6)238%&3-0)6

6331&)'%97);)B:)&))2(3-2+-8*368,-68=7-<=)%67,)%:)6%+)&3-0)663310%7871%=&)8;3

368,6))=)%67&)*36)8,)2&)*36)918,)+3:)621)28*-2(7398%2(%2(9,86-)7837,98A)1

(3;2!)B6)238%&3-0)66331&)'%97)&3-0)66331'%2238+38,-68=7-<=)%67,%2(1)%2

920)778,)=B6)92920)778,)-6838%00=0)+-8-1%8)1%2(920)778,)=-2*%'8,%:)%463(9'836%

7)69,36%7)6:-')8,%832)>'328-29)783+)2)6%8)'327-78)286)89627%2(%2(8,)7)6)89627%6)

'327-78)280=%&3:);,%838,)6)-8,)6'314%2-)7%6)(3-2+36;,%88,)1%6/)8-87)0*-7(3-2+36

)<%140)830(=398,%88,%891>8,) 8,639+,8,639+,92)91;%78,-2/  4)6')28

/1&)'%97)3*8,);%=8,%8;)-2:)78)((96-2+8,%84)6-3(91-28)6173*396+3-2+-2838,)

  %2( +)88-2+ 398 %2( +)88-2+ &%'/ -2 %8 8,) %446346-%8) 8-1) 91 396 *%-6 ;)%8,)6

-2:)781)28;,-',%%+%-2&%7-'%00=-78,) 2()<(-(2B8(3             4)6')288(33-8(-(


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     4)6')2801378%013788;-')%7+33(%78,)*-:) #>$)'%97);),%:)%2-2(-'%836

8,%8%0738)007973/-8B78-1)83+)8-28386)%796=&32(72(73;,-0)32)-2(-'%8367%-(+)8398

39638,)6-2(-'%83691(-(2B88)009783+)8-28386)%796=&32(773;)(-(2B8!).97891-8.978

7%8-2-2-2'%7,*36%71%004)6-3(3*8-1)2(8,)2%2(8,)2;)+38&%'/-2>@$ &EF;PM7I

B7J;H7IA;: ?2(%7*%6%78,37)*%-6;)%8,)6-2:)781)287;,%838,)68,%2-78,%8320=8,)

    @$ &EF;PH;FB?;:?3%+%-2;)320=-2:)78-2)-8,)68,) -2()<368,)838%01%6/)8

-2()<,%8B7-8>2(738,%8B7;,=;)-2:)78-28,) -2()<%2(8,)838%01%6/)8-2()<>@

              I:;I9H?8;:8;BEM?DJ>;T99EKDJD7BOI?IUI;9J?ED $ &EF;P>7:JMEF;HIED7B

>7HB;I-9>M78799EKDJI?D>?ID7C; 2EKH7<<?7DJH;L?;M;:*'')799EKDJI M>?9>H;L;7B;:

JH7DI<;HIEDBO?DJEED;>7HB;I-9>M78799EKDJ 7D:?JM7IED;E<$ &EF;PWIF;HIED7B>7HB;I

-9>M78799EKDJI  KHJ>;HJH7:?D=M?J>?D$ &EF;PWI>7HB;I-9>M787D:799EKDJI<HEC

?DEH78EKJK=KIJ JE?DEH78EKJ$KD; H;IKBJ;:?D7=7?DE<7FFHEN?C7J;BO  

7D:7BEIIE<7FFHEN?C7J;BO   <EH7D;JBEIIE<7FFHEN?C7J;BO   1>?B;$ &EF;P

:E;IJH7:;. I?D>7HB;I-9>M787D:799EKDJI J>;JH7:?D=?IDEJ7IIK99;II<KB7I

H;FH;I;DJ;:  KHJ>;H #M7IKD78B;JEBE97J;FKH9>7I;I7D: EHI7B;IE</-.H;7IKHOED:IM?J>?D

ADEMD*'')799EKDJI  KHJ>;HCEH; *'')WI1;BBI 7H=E799EKDJIJEEA?D7FFHEN?C7J;BO

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J>;?H8;D;<?J *'')WI1;BBI 7H=E799EKDJIF7?:7FFHEN?C7J;BO   C?BB?EDJE9E?D

9ECF7D?;I 7D: H;9;?L;: 7FFHEN?C7J;BO     879A  <EH 7 D;J E< 7FFHEN?C7J;BO

   F7?:JE9E?D9ECF7D?;I IIK9> #MEKB:IK8C?JJ>;H;FH;I;DJ7J?EDIC7:;8O$ 

&EF;PJ>7JH;JKHDI7H;=;D;H7J;:<EH?DL;IJEHI8O*'')7H;J>HEK=>8KO?D=7D:I;BB?D=J>;-*

7D: EH.H;7IKHO8ED:I7H;DEJJHK; ,7J>;H 799EKDJH;9EH:IH;L;7B9EC?D=B?D=E<?DL;IJEHIW

CED;O ?DL;IJEHIWCED;O=E?D=JE9E?DI>EFI<EHFKH9>7I;I F7OC;DJIJEEJ>;H?DL;IJEHI JH7DI<;HI


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           Case 3:21-mb-04346-CDB Document 1-1 Filed 11/08/21 Page 36 of 86

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JE$ &EF;PWIF;HIED7B>7HB;I-9>M78?DL;IJC;DJ799EKDJ 9KHH;D9OM?J>:H7M7BI 7D: EHJH7DI<;HI

JE$ &EF;PWIF;HIED7B799EKDJI 

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                                           # 

                 KH?D= J>; 9EKHI; E< J>?I ?DL;IJ?=7J?ED 7=;DJI KJ?B?P;: EEF;H7J?D= 1?JD;II;I

>;H;?D7<J;H T1U 7D: T1U  JE 9ED:K9J 9EDI;DIK7B H;9EH:?D=I 7D: 9ED:K9J ;C7?B

9EHH;IFED:;D9;M?J>$ &EF;P7D:EJ>;HI 

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                 =;DJI 7FFHE79>;: 1 JE 79J 7I 7 FEJ;DJ?7B ?DL;IJEH M?J> $  &EF;P 7D: EH

*'') 17=H;;:JE7II?IJJ>;/D?J;:-J7J;I!EL;HDC;DJ7D:79J7I7FEJ;DJ?7B?DL;IJEH 

1:?:DEJADEM$ &EF;P7D:M7IDEJ?DLEBL;:M?J>*'')KDJ?B7=;DJI7FFHE79>;:>?C >;H 

1?IM?BB?D=JEJ;IJ?<O 1F7HJ?9?F7J;:?DH;9EH:;:J;B;F>ED;9EDL;HI7J?EDIM?J>$ &EF;P 

.>;H;9EH:?D=I97FJKH;:I;L;H7B9EDL;HI7J?EDIF;HJ7?D?D=JEJ>;?DL;IJC;DJI$ &EF;PE<<;HI 1

7BIE 9ECCKD?97J;: M?J> $  &EF;P L?7 ;C7?B  # 9EDI?:;H J>; ?D<EHC7J?ED 1 FHEL?:;: JE 8;

H;B?78B;8;97KI;1=7J>;H;:J>;?D<EHC7J?ED?DJ>;9EKHI;E<H;9EH:;:J;B;F>ED;97BBI7D:7D

;C7?B 7BBE<M>?9>OEKH7<<?7DJH;L?;M;: .ECOADEMB;:=; 1WI?D<EHC7J?ED>7IDEJ8;;D

<EKD:JE8;<7BI;EHC?IB;7:?D= 

                 )DEH78EKJK=KIJ  197BB;:$ &EF;P7D:79J;:7I7FEJ;DJ?7B?DL;IJEH 

=;DJI H;9EH:;: J>; J;B;F>ED; 97BB  KH?D= J>; 97BB $  &EF;P ;NFB7?D;: J>; CEIJ 9EDI;HL7J?L;

?DL;IJC;DJ*'')E<<;H;:M7I7TUJ>7JF7OI?DJ;H;IJ7DDK7BBO $ &EF;P;NFB7?D;:J>7J

>7HB;I-9>M78?IKD:;H9EDJH79JM?J>>?C *'')JEFHEL?:;I;HL?9;I7D:J>;799EKDJMEKB:

8; >;B: ?D 1WI D7C; 7J >7HB;I -9>M78   $  &EF;P :;I9H?8;: J>; <7?H M;7J>;H IJH7J;=O



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    7;!" & !*'$##$")$! -7;$"$  !*#$"%$$)

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          Case 3:21-mb-04346-CDB Document 1-1 Filed 11/08/21 Page 37 of 86

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?DL;IJC;DJ7D:J>;7BB M;7J>;HIJH7J;=O?DL;IJC;DJI $ &EF;P;NFB7?D;:J>;<7?H M;7J>;HIJH7J;=O

=;D;H7J;I?D9EC;8O8;?D=?DJ>;IJE9AC7HA;JM>;D?JWI=E?D=KF 7D:J>;DCEL?D=JEJH;7IKHO

8ED:IM>;D79EHH;9J?ED?I=E?D=JEE99KH $ &EF;P;NFB7?D;:J>;7BB M;7J>;HIJH7J;=O=;D;H7J;I

?D9EC;8O8;?D=?DJ>;IJE9AC7HA;JM>;D?JWI=E?D=KF7D::EMD ;BEM7H;;N9;HFJI<HECJ>;

97BB

              $ &EF;PJEB:1J>;CEIJ9EDI;HL7J?L;?DL;IJC;DJ*'')>7I?I7=K7H7DJ;;:

 $ &EF;P<KHJ>;HIJ7J;: ?;,%8;)(3-78,%8;)498-8-283-28391'36436%8)()&84%=-2+

4%=-2+%2=;,)6)*6317-<838;)0:)4)6')281;)498-8-2032+)6-2032+)68)619186)%796=

&32(71%,%,;))7)77)28-%00=;);)033/*368,),-+,)78=-)0(-2+=)87%*)&32(78383498

-8 -2 91 73 8,%8 =39 /23; 73 8,%8 ;) '%2 +)8 %2( .978-*= 8,) 8,) 8)2 4)6')28 8,%8 %, 8,%8 ;)

+)2)6%8)3232%=)%60=&%7-73-8B719',8,)7%1)463')7791-8,%7136)83(3;-8,;;,

%,;,)6);,)6);,%8/-2(3*&32(7;)4988,)132)=-283:)6797;,%88,)%,&%2/7%2('6)(-8

92-3274988,)132)=-283@

              I :?I9KII;: 78EL;  DE ADEMD *'') 799EKDJI H;L;7B;: FKH9>7I;I E< /-

.H;7IKHO8ED:I )<J>;7FFHEN?C7J;   *'')H;9;?L;:<HEC?DL;IJEHI?D?JI1;BBI

    7H=E 799EKDJI  *'') F7?: EKJ 7FFHEN?C7J;BO     JE ?DL;IJEHI 7D: EH <EH J>;?H

8;D;<?J *'')WI1;BBI 7H=E799EKDJIF7?:7FFHEN?C7J;BO   JE9E?D9ECF7D?;I

7D:H;9;?L;:7FFHEN?C7J;BO   879A <EH7D;JE<7FFHEN?C7J;BO   F7?:JE

9E?D9ECF7D?;I IIK9> #MEKB:IK8C?JJ>;H;FH;I;DJ7J?EDIC7:;8O$ &EF;PJ>7JJ>;H;JKHDI

=;D;H7J;:JEF7O<EHJ>;*'')E<<;HIJ>HEK=>8KO?D=7D:I;BB?D=9EHFEH7J;:;8J?IDEJJHK; 

7I J>; C7@EH?JO E< M>7J 7FF;7HI JE 8; ?DL;IJEH CED;O =E;I JE 9E?D 9ECF7D?;I 7D: EH 879A JE

?DL;IJEHI 




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       Case 3:21-mb-04346-CDB Document 1-1 Filed 11/08/21 Page 38 of 86

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             $  &EF;P H;FH;I;DJ;: JE 1 J>7J ?< 1 ?DL;IJ;:  T, 8,) 8,) 8,) %''3928

;390( &%7-'%00= &) 86%27*)66)( *631 *631 3=% 91 83 %, 83 396 396 '9783(= ,397) ;,-', -7

,%60)7',;%&,)=&%7-'%00=,30(8,)132)=*3697>@$ &EF;P<KHJ>;HIJ7J;: ?"39/23;

;,-',-=39/23;;,-',-791;)&%7-'%00=;390(+3-2%2(&9=367)009191%&32(,)6)36%

&32(8,)6)91-236()683%,*-2(8,)%,8,)&)78=-)0(;,-',&%7-'%00=;390(79443688,)8)2

4)6')2891%229%0-28)6)784%=1)288,%8366%8,)6%229%0-2-28)6)786%8)8,%88,%8;)B6)4%=-2+

=39>@

             I :?I9KII;: 78EL;  *'') 7D: $  &EF;PWI 799EKDJI :E DEJ H;L;7B JH7:?D= 7I

H;FH;I;DJ;:8O$ &EF;P 

             17IA;:$ &EF;P ?>3(3=39;36/;-8,',;%&6-7',;%&,3;(3)7

8,%8%00;36/@$ &EF;PH;FB?;: ?,%'89%00=',;%&;36/7*3697B1%;););)%6)92()6

'3286%'8;,-',366%8,)6',;%&-792()6'3286%'8;-8,9783%,83463:-()8,)7)6:-')78,%8

;)2))(1)%2;);)%6)238%&63/)6,)=8,)=%6)8,)&63/)6!).9788)00A)1;,%883(3@

&7J;H 17IA;:$ &EF;P ?>%8',;%&-78,)%''3928-21=2%1)36-7-8-2=3962%1)3;

(3)7:3-')73:)60%4@$ &EF;PH;FB?;: ?,2388,)%''3928-7-2=3962%1)98&&98-8B7

320=%'')77-&0)&=97@

             I?BBKIJH7J;:78EL; $ &EF;PH;FH;I;DJ;:JE1J>7J*'')>7I79EDJH79J

M?J>>7HB;I-9>M78 7D: M>;D?DL;IJ?D=M?J>*'') 7>7HB;I-9>M78799EKDJMEKB:8;

9H;7J;: ?D J>; ?DL;IJEHWI D7C;  I :;I9H?8;: 78EL;  JH7DI<;HI <HEC *'')WI 1;BBI 7H=E

799EKDJI>7L;EDBO8;;DJE$ &EF;PWIF;HIED7B>7HB;I-9>M78799EKDJ IIK9> #IK8C?J

J>;H;FH;I;DJ7J?EDIC7:;8O$ &EF;PH;=7H:?D=>7HB;I-9>M787H;<7BI; 

             $  &EF;P :;I9H?8;: J>; ?DL;IJC;DJI *'') E<<;HI  ?> #!$) ,%:) 8,) 8,)

+9%6%28))(8)24)6')28#>$;),%:)731)8,-2+'%00)(9178%&0)+63;8,%2(-2'31)-2:)781)28


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        Case 3:21-mb-04346-CDB Document 1-1 Filed 11/08/21 Page 39 of 86

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;,-',&%7-'%00=-2:)787-2%'31&-2%8-323*783'/7%2(&32(7%2(%2(8,%8%,3:)6%3:)6%8;)28=

=)%6%:)6%+)(3)7731);,)6)%6392(*-*8))2837):)28))24)6')28#>$-*=39;%22%+3%238,)6

9194%238,)60):)03*6-7/%,%,83%=391-+,87%=13()6%8)6-7/%,8,)28,)2;),%:);,%8

;)'%008,)*%-6;)%8,)6786%8)+=91-2:)781)28!,-',&%7-'%00=-2:)787-28,)783'/1%6/)83

&32(71-2:)787-28,)783'/1%6/)8;,)2-8B7+3-2+942(8,)2;,%8%,%2(8,)2;,)28,)

783'/ 1%6/)8 033/7 0-/) -8B7 +3-2+ 83 91 79**)6 91 % '366)'8-32 3* 3* 3* %2= 7-+2-*-'%2') ;)

&%7-'%00=49008,%8132)=3982(%2(498-8-283-28386)%796=&32(7928-0928-0%008,)'%62%+)

-7%2(%2(91%008,)'366)'8-32-73:)62(8,)2;)B:),-8&38831%2(8,)2;)&%7-'%00=4988,)

132)=&%'/-2%&)88)6;)B008%/)-83983*8,)86)%796=&32(7%2(13:)-8&%'/-2838,)783'/

1%6/)8#>$396 ,-+,)78 6-7/ %2( 1378 %++6)77-:) -2:)781)28 -7 ;,%8 ;) '%00 8,) %00;)%8,)6

786%8)+=  !,-', -7 -2 8,) 1%6/)8 3* &38, %, &38, ;,)2 -8B7 +3-2+ 94 %2( ;,)2 -8B7 +3-2+

(3;2#>$2(73;)7-140=7,-*8*63132)838,)38,)6738,%8%83961378%++6)77-:);)B6)%0;%=7

-2:)78)(-2783'/73*731)/-2(@

              I :?I9KII;: 78EL;  87I;: ED OEKH 7<<?7DJWI H;L?;M E< *'') 7D: $  &EF;PWI

799EKDJI J>;JH7:;I7D: EHH;JKHDI7H;DEJ9EDI?IJ;DJM?J>$ &EF;PWIH;FH;I;DJ7J?EDI 

              17IA;: ?3-28,)4%78,%:)=39):)60378%2=132)=B18,);%=-87392(7

0-/)=39=39+9=7%6)46)88=&6-+,8%2(=39B6)%&0)831%/)%0;%=7,%:-2B%,-+,6)8962@$ &EF;P

H;FB?;: ?")%,;)00918,)8,)8,)6)%0-8=-78,%8=39/23;;)1-+,8037)91%0-880)132)=32%

(%=&=(%=&%7-7&98&983:)6%1328,0=59%68)60=%2(()*-2-8)0=%2%229%0&%7-7;)(32B8037)

132)=#>$96%4463%',-7-8B791-8B7136)%'%7)3*;);%28-883&)-28,)1%6/)8;,)28,)

1%6/)8-7+3-2+94%2(;);%288313:)3983*,%61B7;%=;,)28,)1%6/)8-7+3-2+(3;2>@

              I:?I9KII;:78EL; J>;EDBOCED;OJH7DI<;HH;:<HEC*'')?DJE78HEA;H7=;

799EKDJM7IJE$ &EF;PWIF;HIED7B>7HB;I-9>M78799EKDJ  KHJ>;H J>;JH7:?D=?D$ &EF;PWI


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        Case 3:21-mb-04346-CDB Document 1-1 Filed 11/08/21 Page 40 of 86

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
-9>M78799EKDJI7D:<HEC?DEH78EKJK=KIJ JE?DEH78EKJ$KD; H;IKBJ;:

?D7=7?DE<7FFHEN?C7J;BO  7D:7BEIIE<7FFHEN?C7J;BO   <EH7D;JBEIIE<

7FFHEN?C7J;BO      I IK9>  # IK8C?J J>; H;FH;I;DJ7J?EDI C7:; 8O $  &EF;P 78EKJ DEJ

BEI?D=CED;OED7D7DDK7B87I?I7H;<7BI; 

             $ &EF;PFHEL?:;:7:E9KC;DJL?7;C7?BJE1 .>;:E9KC;DJ?I7JJ79>;:7I

9-.'.6   I ?BBKIJH7J;: ED 9-.'.6   *'') H;FEHJ;:  O;7H F;H<EHC7D9; E< J>; IJ78B;

=HEMJ> <7?H M;7J>;H 7D:7BB M;7J>;H?DL;IJC;DJIE<   7D:  H;IF;9J?L;BO .>;

-*H;JKHD<EHJ>;I7C;O;7HF;H?E:?IH;FH;I;DJ;:JE8;  

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             =;DJI 7FFHE79>;: 1 JE 79J 7I 7 FEJ;DJ?7B ?DL;IJEH M?J> $  &EF;P 7D: EH

*'') 17=H;;:JE7II?IJJ>;/D?J;:-J7J;I!EL;HDC;DJ7D:79J7I7FEJ;DJ?7B?DL;IJEH 

1:?:DEJADEM$ &EF;P7D:M7IDEJ?DLEBL;:M?J>*'')KDJ?B7=;DJI7FFHE79>;:>?C >;H 

1?IM?BB?D=JEJ;IJ?<O =;DJI7D:1KI;:9EL;HJH;9EH:?D=:;L?9;IJEH;9EH:J;B;F>ED;

97BBI7D:?DF;HIEDC;;J?D=IM?J>$ &EF;P 17BIE9ECCKD?97J;:M?J>$ &EF;PL?7;C7?B 

1?DL;IJ;: M?J>$ &EF;P :87*'')FHEL?:;:JE>?C >;H8OJ>;/D?J;:-J7J;I

!EL;HDC;DJ 1M7I7:L?I;:7D:7=H;;:>; I>;>7:DEH?=>J J?JB; EH?DJ;H;IJ?DJ>;CED;OJ>;

/D?J;:-J7J;I!EL;HDC;DJFHEL?:;:>?C >;H7D:J>;CED;O ?<7DOH;C7?D;: MEKB:H;L;HJJEJ>;

/D?J;:-J7J;I!EL;HDC;DJ7JJ>;9ED9BKI?EDE<J>;?DL;IJ?=7J?ED #9EDI?:;HJ>;?D<EHC7J?ED1

FHEL?:;:JE8;H;B?78B;8;97KI;J>;?D<EHC7J?ED=7J>;H;:8O1M7ICEIJBOH;9EH:;:J;B;F>ED;

97BBI  7D ?D F;HIED H;9EH:;: C;;J?D=  7D: ;C7?BI  7BB E< M>?9> OEKH 7<<?7DJ H;L?;M;:  .E CO

ADEMB;:=; 1WI?D<EHC7J?ED>7IDEJ8;;D<EKD:JE8;<7BI;EHC?IB;7:?D= 



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        Case 3:21-mb-04346-CDB Document 1-1 Filed 11/08/21 Page 41 of 86

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              )DEH78EKJK=KIJ  1C7:;>?I >;H<?HIJ9EDJ79JM?J>$ &EF;P L?77

J;B;F>ED; 97BB  =;DJI H;9EH:;: J>; J;B;F>ED; 97BB  1 7IA;: <EH T$E>D &EF;PU 7D: J>;

?D:?L?:K7B M>E 7DIM;H;: J>; J;B;F>ED; 97BB ?:;DJ?<?;: >?CI;B< 7I $  &EF;P  1 FEI;: 7I 7D

?DJ;H;IJ;: ?DL;IJEH  $  &EF;P ;NFB7?D;: IEC; E< J>; ?DL;IJC;DJI J>7J >; E<<;H;:   FEJ;DJ?7B ?D

F;HIEDC;;J?D=JEM7H:IJ>;;D:E<K=KIJ ?DB8KGK;HGK; (;M';N?9E M7I:?I9KII;: 

              )DEH78EKJK=KIJ  197BB;:$ &EF;P $ &EF;P7D:17=H;;:

JEC;;J7JT<EKHEW9BE9AEDJ>;J> U$ &EF;P;NFB7?D;:>;MEKB:8;?DIF7DEB77D:J>;D=EJE

B8KGK;HGK; JE C;;J 1  1 H;GK;IJ;: 7::?J?ED7B ?D<EHC7J?ED H;=7H:?D= ?DL;IJC;DJI $ 

&EF;PE<<;H;: $ &EF;PM7I:H?L?D=7D:7IA;:1JEI;D:1WI;C7?B7::H;II 

              )DEH78EKJK=KIJ  J>;KI;HE<@FBEF;PIJ7HJC7?B 9ECI;DJ7D;C7?BJE

1 1?J>?DJ>;;C7?BKI;HE<@FBEF;PIJ7HC7?B 9EC:;I9H?8;:J>;<EBBEM?D=?DL;IJC;DJI .>;

;C7?BM7II?=D;:EDBO8O$ &EF;P

                 7  2;7HV;HJ?<?97J;E<;FEI?JM?J>=K7H7DJ;;:2?;B: 1?J>?DJ>;;C7?B$ 

                     &EF;P:;I9H?8;:J>;?DL;IJC;DJ=K7H7DJ;;IJ>;DEC7JJ;H>EMJ>;8ED:

                     C7HA;J?I:E?D= ";:E;IJ>?I8OJ>;FKH9>7I?D=7D:I7B;IE<8ED:. I7JA;O

                     ?D<B;9J?EDFE?DJI IEJ>;O97D8;D;<?J<HECJ>;?DJ;H;IJ7D:J>;7FFH;9?7J?EDE<

                     J>;8ED:I 

                 8  BB M;7J>;H IJH7J;=O ?DL;IJC;DJ  1?J>?D J>; ;C7?B $  &EF;P :;I9H?8;: J>;

                     ?DL;IJC;DJ?I<EH7==H;II?L;EH>?=>H?IA?DL;IJEHI  KHJ>;H $ &EF;PM;DJEDJE

                     ;NFB7?DJ>7J?JKI;IC7HA;JJ?C?D=IJH7J;=OM?J>. I $ &EF;PH;FH;I;DJIJ>;

                     BB M;7J>;H <KD: ?I ?D J>; IJE9A C7HA;J M>;J>;H ?J ?I H?I?D= EH <7BB?D=  @KIJ 7

                     :?<<;H;D9;E<M>?9>. IJ>;CED;O?I?DL;IJ;:?D 

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             $  &EF;P <KHJ>;H ;NFB7?D;: J>; 7BB M;7J>;H IJH7J;=O ?DL;IJC;DJ  7I 7D ?DL;IJC;DJ

J>7J8;D;<?JIH;=7H:B;IIE<M>;J>;HJ>;IJE9AC7HA;JH?I;IEH:;9B?D;I $ &EF;PIJ7J;:J>;?DL;IJC;DJ

IJ;7:?BO=7?D;:EL;HJ>;O;7HI7D:8;7JCEIJIJE9AC7HA;J?D:;N;I $ &EF;PIJ7J;:?DJ>;;C7?B 

TR;) %6) -2 731) 783'/ 7 ;,-', &)2)*-8 ;,)2 -8B7 6-7-2+ %2( (-**)6)28 783'/ 7 ;,-',

&)2)*-8;,)28,)783'/1%6/)8-7()'0-2-2+,-7-7,3;8,-7-2:)781)28-7%&0)83+)2)6%8)794)6-36

6)89627>@      

             )DEH78EKJK=KIJ  1H;FB?;:JEJ>;;C7?B 9ED<?HC?D=7C;;J?D=?D

B8KGK;HGK; (;M';N?9E  KHJ>;H 17IA;:<EH:;I9H?FJ?EDIE<EJ>;H?DL;IJC;DJI$ &EF;P

E<<;H;: )DEH78EKJK=KIJ  J>;KI;HE<@FBEF;PIJ7HJC7?B 9ECI;DJ7D;C7?BJE1 

1?J>?DJ>;;C7?BKI;HE<@FBEF;PIJ7HC7?B 9EC:;I9H?8;:J>;<EBBEM?D=?DL;IJC;DJI .>;;C7?B

M7II?=D;:EDBO8O$ &EF;P

                7  .>;-J78B;!HEMJ>7D:#D9EC;-JH7J;=O#DL;IJC;DJ 1?J>?DJ>;;C7?B$ &EF;P

                    :;I9H?8;:J>;?DL;IJC;DJI;;AIJE=;D;H7J;=7?DI7D:?D9EC;J>HEK=>IF;9?<?9

                    C?NE<IJE9AI7D:I>EHJJ;HC<?N;:?D9EC;?DIJHKC;DJI B?A;8ED:IEH?DIKH7D9;

                    9EDJH79JI  KHJ>;H $ &EF;PM;DJEDJE;NFB7?DJ>7JJ>?I?DL;IJC;DJKI;IC7HA;J

                    J?C?D= IJH7J;=O  $  &EF;P B7J;H :?I9KII;: J>; <?N;: ?D9EC; 9ECFED;DJI 7I

                    FKH9>7I?D= /- .H;7IKHO ED:I  9EHFEH7J; 8ED:I EH ?DIKH7D9; 9EDJH79JI M?J>

                    C7JKH?JO:7J;IDEBED=;HJ>7DED;O;7H 

                8  .>;<7?H M;7J>;HIJH7J;=O?DL;IJC;DJ 1?J>?DJ>;;C7?B$ &EF;P:;I9H?8;:?J7I

                    8;?D=I?C?B7HJEJ>;7BB M;7J>;HIJH7J;=O?DL;IJC;DJ M?J>ED;A;O:?<<;H;D9; 

                    .>;C7?D:?<<;H;D9;?I7JJ>;T?D<B;9J?EDFE?DJUJ>;<7?H M;7J>;H<KD:I>?<JI?DJE

                    /-.H;7IKHOED:. I:KH?D=J>;IJE9AC7HA;J:;9B?D; 




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       Case 3:21-mb-04346-CDB Document 1-1 Filed 11/08/21 Page 43 of 86

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            I:;I9H?8;:78EL;?DJ>;T99EKDJD7BOI?IUI;9J?ED $ &EF;P>7:JMEF;HIED7B

>7HB;I-9>M78799EKDJI?D>?ID7C; 2EKH7<<?7DJH;L?;M;:*'')799EKDJI M>?9>H;L;7B;:

JH7DI<;HIEDBO?DJEED;>7HB;I-9>M78799EKDJ 7D:?JM7I$ &EF;PWIF;HIED7B>7HB;I-9>M78

799EKDJ;D:?D=  KHJ>;H J>;JH7:?D=?D$ &EF;PWI-9>M78799EKDJI7D:<HEC?D

EH78EKJK=KIJ JE?DEH78EKJ$KD; H;IKBJ;:?D7=7?DE<7FFHEN?C7J;BO  

7D:7BEIIE<7FFHEN?C7J;BO   <EH7D;JBEIIE<7FFHEN?C7J;BO   1>?B;$ &EF;P

JH7:;I. I?D>?I>7HB;I-9>M787D:799EKDJI J>;JH7:;I7H;DEJ7IIK99;II<KB7I

H;FH;I;DJ;:  KHJ>;H #M7IKD78B;JEBE97J;FKH9>7I;I7D: EHI7B;IE</-.H;7IKHOED:IM?J>?D

ADEMD*'')799EKDJI  KHJ>;HCEH; *'')WI1;BBI 7H=E799EKDJIJEEA?D7FFHEN?C7J;BO

   <HEC?DL;IJEHI7D:F7?:EKJ7FFHEN?C7J;BO   JE?DL;IJEHI7D: EH<EH

J>;?H 8;D;<?J  *'')WI 1;BBI 7H=E 799EKDJI F7?: 7FFHEN?C7J;BO     JE 9E?D

9ECF7D?;I 7D: H;9;?L;: 7FFHEN?C7J;BO     879A  <EH 7 D;J E< 7FFHEN?C7J;BO

   F7?:JE9E?D9ECF7D?;I IIK9> #MEKB:IK8C?JJ>;H;FH;I;DJ7J?EDIC7:;8O$ 

&EF;PJ>7JH;JKHDI7H;=;D;H7J;:<EH?DL;IJEHI8O*'')7H;J>HEK=>8KO?D=7D:I;BB?D=J>;-*

7D: EH.H;7IKHO8ED:I7H;DEJJHK; ,7J>;H 799EKDJH;9EH:IH;L;7B79EC?D=B?D=E<?DL;IJEHIW

CED;O ?DL;IJEHIWCED;O=E?D=JE9E?DI>EFI<EHFKH9>7I;I F7OC;DJIJEEJ>;H?DL;IJEHI JH7DI<;HI

JE$ &EF;PWIF;HIED7B>7HB;I-9>M78?DL;IJC;DJ799EKDJ 9KHH;D9OM?J>:H7M7BI 7D: EHJH7DI<;HI

JE$ &EF;PWIF;HIED7B799EKDJI 

            )D EH 78EKJ K=KIJ     $  &EF;P C;J M?J> 1 ?D B8KGK;HGK;  (;M

';N?9E =;DJIH;9EH:;:J>;C;;J?D= KH?D=J>;C;;J?D= $ &EF;PFHEL?:;:1879A=HEKD:

ED>?CI;B<7D:*'') =;DJIE8I;HL;:$ &EF;P7HH?L;7D::;F7HJ<HECJ>;C;;J?D=M?J>1

?D7DK:? <HECM>?9>$ &EF;PJEEAM>7J7FF;7H;:JE8;:E9KC;DJI?DJEC;;J?D= $ &EF;P>7I

7K:?H;=?IJ;H;:M?J>B?9;DI;FB7J;&%  $ &EF;PH;FH;I;DJ;:J>7J*'')>7:7


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        Case 3:21-mb-04346-CDB Document 1-1 Filed 11/08/21 Page 44 of 86

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9EDJH79JM?J>>7HB;I-9>M78M>;H;?DL;IJEHIWCED;O?IC7?DJ7?D;: $ &EF;P;NFB7?D;:J>7J>;

?ICEL?D=7M7OJ>;:;8JFH;L?EKIBO?DL;IJ;:?D IK9>7IJH;7IKHO8ED:I 7D:CEL?D=JE=EL;HDC;DJ

?D<B7J?ED7:@KIJ;:8ED:I 1:?I9KII;:J>;FEJ;DJ?7BE<?DL;IJ?D=M?J>*'') ;BEM7H;

;N9;HFJI<HECJ>;C;;J?D=

              $ &EF;PJEB:1 ?>1)%238,)68,%238,)68,%2)77)28-%00=%,%2(*903*/-2(

3*-2:)781)287%2(13783*8,37)-2:)781)287%6))-8,)691:)6=74)'-*-'86)%796=91&32(8=4)

3*-2:)781)287361%6/)8&%7/)8-2:)781)287363691+639473*-2:)781)2870-/)8,) 

1%6/)81%6/)8&%7/)8368,) %2+9%6(838%01%6/)8&%7/)8,)6)%732&)-2+-78,%8-78,%88,)6)

8,)6)-7%13928%-23*(%8%;-8,6)+%6(783:%6-397%74)'873*9,3*8,)7)3*8,)7)-2()<)7@

              I :?I9KII;: 78EL;  87I;: ED OEKH 7<<?7DJWI H;L?;M E< *'') 7D: $  &EF;PWI

799EKDJI J>;JH7:;I7D: EHH;JKHDI7H;DEJ9EDI?IJ;DJM?J>$ &EF;PWIH;FH;I;DJ7J?EDI 

              $ &EF;PJEB:1 ?,2391%'89%00=;),%:)%'3286%'8;-8,;-8,,%60)7

',;%&;,3&%7-'%00=1%-28%-278,)'9783(=3*8,)132)=91*36=396%''39287@

              I?BBKIJH7J;:78EL; $ &EF;PH;FH;I;DJ;:JE1J>7J*'')>7I79EDJH79J

M?J>>7HB;I-9>M78 I:;I9H?8;:78EL; JH7DI<;HI<HEC*'')WI1;BBI 7H=E799EKDJI>7L;

EDBO 8;;D JE $  &EF;PWI F;HIED7B >7HB;I -9>M78 799EKDJ   I IK9>  # IK8C?J J>;

H;FH;I;DJ7J?EDIC7:;8O$ &EF;PH;=7H:?D=>7HB;I-9>M787H;<7BI; 

              1>;D18HEK=>JKF?D<B7J?EDJE$ &EF;P $ &EF;PH;IFED:;:M?J> ?-+,8

6-+,8 2( %2( 8,%8B7 731)8,-2+ 8,%8 ;) ,%:) 83 '31) 83 8)617 ;-8, &98 91 &98 ;) ,%:) %

291&)63*786%8)+-)79183&)%&0)83(38,%8388,%8;)B6)13:-2+%;%=*631()&8&98;)B6)

13:-2+%;%=*6318,)/-2(3*()&88,%88,%8;),%(8=4-'%00=&))297-2+*36)<%140)916-+,8

23;;)B:)&))297-2+86)%796=&32(7&)'%97)86)%796=&32(7%6)7)00-2+1,3;):)6918,)6)

8,)6)B7 %073 '%00)( 91 -2*0%8-32 91 +3:)621)28 -2*0%8-32 %(.978)( &32(7 1 %2( %2(


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        Case 3:21-mb-04346-CDB Document 1-1 Filed 11/08/21 Page 45 of 86

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46):-3970=;),%()77)28-%00=0)*88,)1%032)&)'%97);)7%;232))(36:%09)83)77)28-%00=4%=

8,) %((-8-32%0 46)1-91 83 9, 83 4638)'8 %+%-278 -2*0%8-32 1 8,)=B6) '%00)( 8-47 &= 8,) ;%=

6)%796=-2*0%8-324638)'8-324638)'8)(7)'96-8-)7-47@

              I :?I9KII;: 78EL;  87I;: ED OEKH 7<<?7DJWI H;L?;M E< *'') 7D: $  &EF;PWI

799EKDJI J>;JH7:;I7D: EHH;JKHDI7H;DEJ9EDI?IJ;DJM?J>$ &EF;PWIH;FH;I;DJ7J?EDI 

)0!-.(!).

              )DEH78EKJ-;FJ;C8;H  1I;DJ E</D?J;:-J7J;I!EL;HDC;DJ

<KD:IL?7M?H;JH7DI<;H<HEC/-7DAJE*'')KJ?B?P?D=7T7DA1?H;.H7DI<;H#DIJHK9J?EDIU

FHEL?:;:8O$ &EF;P 7JJ79>;:7I9-.'.6 .>;M?H;M7II;DJJE*'')WI1;BBI 7H=E799EKDJ

;D:?D= #>7L;H;L?;M;:*'')WI1;BBI 7H=E-;FJ;C8;H 7D:799EKDJ

IJ7J;C;DJI .>; M?H;:JE*'')WI799EKDJM7IH;9;?L;:EDEH78EKJ-;FJ;C8;H

   HECEDEH78EKJ-;FJ;C8;H  JEEDEH78EKJ-;FJ;C8;H  J>;<EBBEM?D=

M;H;J>;M?J>:H7M7BI<HECJ>;*'')7D:1;BBI 7H=E799EKDJI

                 7        87DA<;;
                 8        >7I;9H;:?J97H:F7OC;DJ
                 9        M?H;JH7DI<;HJE?I9EKDJ!EB:7D:-?BL;H
                 :       E<CKBJ?FB;87DA<;;I
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                 <        M?H;JH7DI<;HJE?DL;IJEHI
                 =       F7OC;DJJEL?D7
                 >        F7OC;DJJE#,-
                 ?       F7OC;DJJE#,-
                 @       F7OC;DJJE?DL;IJEH
                 A       F7OC;DJJE?DL;IJEH
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                  )D EH 78EKJ -;FJ;C8;H     1 97BB;: $  &EF;P  =;DJI H;9EH:;: J>;

J;B;F>ED;97BB $ &EF;PJEB:1J>7J1WI?DL;IJC;DJM7IKF <EHJ>;CEDJ> M>?B;J>;

C7HA;JM7I:EMD <EHJ>;CEDJ> $ &EF;PIJ7J;:>;CEL;:J>;7BB M;7J>;H<KD:?DL;IJC;DJI

EKJE<J>;IJE9AI7D:. IJ>7J:EM;BBM>;DJ>;C7HA;J?I=E?D=KF JE. IJ>7J:EM;BBM>;D

J>;C7HA;J=E;I:EMD .>KI J>;7BB M;7J>;H<KD:EKJF;H<EHC;:J>;C7HA;J $ &EF;P9ED<?HC;:

;L;HOJ>?D=8;?D=:ED;<EH1M7I?D>7HB;I-9>M78 

                  )DEH78EKJ)9JE8;H  1H;9;?L;:7D;C7?B;:<HEC$ &EF;P7D:L?D7 

.>;;C7?B9EDJ7?D;:1WI799EKDJIJ7J;C;DJ<EHJ>;GK7HJ;H;D:?D=-;FJ;C8;H  .>;
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799EKDJIJ7J;C;DJ?I7JJ79>;:7I9-.'.6                

                  1H;9;?L;:7I;9ED:;C7?BEDEH78EKJ)9JE8;H  .>;;C7?B?I7JJ79>;:

7I9-.'.6        #IK8C?JJ>;H;?IFHE878B;97KI;JE8;B?;L;?I7D;C7?BI;DJJECKBJ?FB;?DL;IJEHI<EH

J>;FKHFEI;E<BKBB?D=?DL;IJEHI7D:=?L?D=J>;C7<7BI;I;DI;E<I;9KH?JO?DJ>;?H?DL;IJC;DJ=7?DI 

.>;;C7?BFHEL?:;:7DKF:7J;:IKCC7HOE<?DL;IJC;DJH;JKHDI M>?9><7H;N9;;:;:J>;-*?D:;N 

I:?I9KII;:78EL; 87I;:EDOEKH7<<?7DJWIH;L?;ME<*'')7D:$ &EF;PWI799EKDJI J>;JH7:;I

7D: EHH;JKHDI7H;DEJ9EDI?IJ;DJM?J>$ &EF;PWIH;FH;I;DJ7J?EDI 

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                  #DIKCC7J?ED #IK8C?JFHE878B;97KI;;N?IJIJ>7J$ &EF;P;D=7=;:?D7I;H?;IE<

<H7K:KB;DJ 79JI 8EJ> ?D:?L?:K7BBO 7D: J>HEK=> *'') M>?9> 7H; 9>7H79J;H?IJ?9 E< "?=> 2?;B:

#DL;IJC;DJ H7K:I7D: EH*EDP?I9>;C;I BJ>EK=>DEJIJ7JKJEH?BO:;<?D;: F;HF;JH7JEHIE<"?=>

2?;B: #DL;IJC;DJ H7K:I J;BB L?9J?CI J>7J J>;O 97D ;7HD 78EL; C7HA;J H;JKHDI M?J> B?JJB; EH DE

H?IA  0?9J?CI 7H; E<J;D I;DJ <?9J?J?EKI IJ7J;C;DJI M>?9> J;BB J>; L?9J?C J>7J J>; L7BK; E< J>;?H




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        Case 3:21-mb-04346-CDB Document 1-1 Filed 11/08/21 Page 47 of 86

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?DL;IJC;DJ>7I=HEMD .>;J;HC*EDP??IKI;:JE:;I9H?8;7<?D7D9?7B7HH7D=;C;DJ?DM>?9>J>;

F;HF;JH7JEHKI;IED;?DL;IJEHWICED;OJEF7O7DEJ>;H?DL;IJEH 

             $  &EF;P H;FH;I;DJI J>7J *'') >7I 8;;D ?D 8KI?D;II EL;H  O;7HI  $  &EF;P

E<<;HI CKBJ?FB; :?<<;H;DJ JOF;I E< ?DL;IJC;DJI  7I :?I9KII;: 78EL;  $  &EF;P C7:; DKC;HEKI

H;FH;I;DJ7J?EDI H;=7H:?D= *'')IW ?DL;IJC;DJI :KH?D= J>; H;9EH:;: FH;I;DJ7J?ED 7D: ?D

:E9KC;DJIFHEL?:;::KH?D=J>;FH;I;DJ7J?ED $ &EF;PH;FH;I;DJ;:=K7H7DJ;;:H;JKHDI<EH*'')

T!K7H7DJ;;: 'EDJ>BO ;D;<?JU ?D 9-.'.6   KHJ>;H  $  &EF;P H;FH;I;DJ;:  O;7H H;JKHDI <7H

78EL; J>; C7HA;J   KHJ>;H  $  &EF;P C7:; CKBJ?FB; H;FH;I;DJ7J?EDI 7D: FHEL?:;: DKC;HEKI

:E9KC;DJIJE17D:1J>7J7H;DEJ?DB?D;M?J>J>;;N7C?D7J?EDE<*'')WI7D: EH$ 

&EF;PWI 87DA IJ7J;C;DJI  $  &EF;P H;FH;I;DJI *'') ?I 78B; JE >7L; =K7H7DJ;;: H;JKHDI 7D:

>?=>;H H7J;I E< H;JKHDI J>7D J>; C7HA;J 87I;: ED C7A?D= JH7:;I KI?D= 7D ?DL;IJC;DJ CE:;B >;

9H;7J;: O;7HI 7=E  "EM;L;H  $  &EF;PWI 799EKDJI :E DEJ H;L;7B J>; IK99;II ?D JH7:?D= J>7J ?I

FKHFEHJ;: ,7J>;H M>;D?DL;IJEHCED;OM7I:;FEI?J;:?DJE*'')WI799EKDJI J>;CED;O?I

KI;:ED7L7IJ7HH7OE<?J;CI?D9BK:?D= 8KJDEJB?C?J;:JE JH7DI<;HIJE$ &EF;PWI7D:' &EF;PWI

F;HIED7B799EKDJI F7OC;DJE<$ &EF;PWI9H;:?JB?D;I F7OC;DJE<EJ>;H?DL;IJEHI F7OC;DJJE9E?D

9ECF7D?;I 7D:JH7DI<;HIJE$ &EF;PWIF;HIED7B>7HB;I-9>M78799EKDJ .>;H;7FF;7HIJE8;DE

I;=H;=7J?ED E< 799EKDJI 7D: DE 9B?;DJ >7HB;I -9>M78 799EKDJIH7J>;H 7BB ?DL;IJEHIW <KD:I 7H;

9EC?D=B;:?D*'')WI1;BBI 7H=E799EKDJI $ &EF;P>7I7BIEM?J>:H7MDIK8IJ7DJ?7B7CEKDJI

E<97I> IIK9> #IK8C?JJ>;H;?IFHE878B;97KI;JE8;B?;L;J>;H;FH;I;DJ7J?EDIC7:;8O$ &EF;P

7H;<7BI;87I;:ED7D7BOI?IE<J>;78EL;799EKDJI 

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             .>;?J;CIIEK=>J9EDIJ?JKJ;<HK?JI FHE9;;:I ;L?:;D9; 7D:?DIJHKC;DJ7B?J?;IE<

/ -  Q'7?B H7K:/ -  Q1?H; H7K:/ -  QEDIF?H79O/-


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       Case 3:21-mb-04346-CDB Document 1-1 Filed 11/08/21 Page 48 of 86

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Q?:?D=7D:8;JJ?D=/ -  Q'ED;O&7KD:;H?D=/ -  QD=7=?D=?D

'ED;J7HO.H7DI79J?EDI?D*HEF;HJO;H?L;:<HEC-F;9?<?;:/DB7M<KB9J?L?JO7D: EH/ -  Q

 -;9KH?J?;I H7K:  KHJ>;H  87I;: ED CO JH7?D?D= 7D: ;NF;H?;D9; ?D ?DL;IJ?=7J?D= <;:;H7B

9H?C;I #ADEM?D:?L?:K7BI?DLEBL;:?D<H7K:KB;DJ7D:?BB;=7B79J?L?J?;IH;B7J;:JE<7BI;9B7?CI J>;<J 

7D: <7BI; IJ7J;C;DJI A;;F 7D: C7?DJ7?D J>; JOF; E< H;9EH:I 7D: H;B7J;: ;L?:;D9; B?IJ;: ?D

JJ79>C;DJ?DEH:;HJE97HHOEDJ>;?H?BB;=7B79J?L?J?;I 

             7I;: ED CO ;NF;H?;D9;  JH7?D?D=  7D: F7HJ?9?F7J?ED ?D ?DL;IJ?=7J?EDI ?D9BK:?D=

;NF;H?;D9;I=7?D;:?D;N;9KJ?D=I;7H9>M7HH7DJI<EHH;9EH:I7D:EJ>;H;L?:;D9; #ADEM

            7  .>;H;9EH:I7D:?J;CI:;I9H?8;:?D66&(-1*267H;J>;JOF;E<H;9EH:I7D:?J;CI

                A;FJ?DJ>;DEHC7B9EKHI;E<8KI?D;II<EH9ECF7D?;IIK9>7I*'') 

            8  #J?I9KIJEC7HO<EH?D:?L?:K7BI 8KI?D;II;I7D:H;B7J;:;CFBEO;;I 7=;DJI 9B?;DJI 

                7D:?D:?L?:K7BIEJ>;HM?I;9EDD;9J;:M?J>J>;EF;H7J?EDE<7D?DL;IJC;DJ9ECF7DO

                JE C7?DJ7?D 7D: 799KCKB7J; 9;HJ7?D JOF;I E< H;9EH:I ?D EH:;H JE <KD9J?ED ?D J>;

                <?D7D9?7B 7IF;9JI E< J>;?H B?L;I 7D: JE EJ>;HM?I; 9EDJ?DK; J>;?H :7O JE :7O

                EF;H7J?EDI .>;I;H;9EH:I?D9BK:;8KJ7H;DEJB?C?J;:JE?J;CIB?IJ;:?D66&(-1*26

                 

            9  .>7J?J?I9ECCED<EH?D:?L?:K7BIM>E;D=7=;?D<H7K:KB;DJ79J?L?J?;IJEC7?DJ7?D

                H;9EH:I EH EJ>;H ;L?:;D9; H;B7J?D= JE J>;?H E8J7?D?D=  I;9H;J?D=  JH7DI<;HH?D= 

                9ED9;7B?D=7D: EH;NF;D:?D=J>;FHE9;;:IE<J>;?H9H?C?D7B79J?L?JO IK9>7I8EEAI 

                H;9EH:I ?DLE?9;I H;9;?FJI H;9EH:IE<H;7B;IJ7J;JH7DI79J?EDI 87DAIJ7J;C;DJI7D:

                H;B7J;:H;9EH:I 9;HJ?<?97J;IE<:;FEI?JI F7II8EEAI CED;O:H7<JI B;JJ;HIE<9H;:?J 

                CED;O EH:;HI  87DA :H7<JI  97I>?;HI 9>;9AI  87DA 9>;9AI  7D: EJ>;H ;L?:;D9; E<

                <?D7D9?7B JH7DI79J?EDI  .>;I; H;9EH:I 7H; E<J;D JH7DIC?JJ;: L?7 ;C7?B EH 7I <?B;I


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    Case 3:21-mb-04346-CDB Document 1-1 Filed 11/08/21 Page 49 of 86

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           7JJ79>;:JE;C7?BI #DJ>?I97I; $ &EF;P9ECCKD?97J;:M?J>17D:1L?7

           ;C7?B FHEL?:?D=J>;C:E9KC;DJIJ>7J7FF;7HJE8;9H;7J;:ED79ECFKJ;H 

       :  #D:?L?:K7BIM>E;D=7=;?D<H7K:I IM?D:B;I 7D:EJ>;H9H?C;IE<=H;;:7JJ;CFJJE

           9ED9;7BJ>;?H9ED:K9J8O:?I=K?I?D=J>;?H79J?L?J?;I7IB;=?J?C7J;JH7DI79J?EDI 

       ;  #D:?L?:K7BI ;D=7=;: ?D <?D7D9?7B 9H?C;I 7H; E<J;D >?=>BO EFFEHJKD?IJ?9 7D: M?BB

           <H;GK;DJBOH;F;7JJ>;I7C;F7JJ;HDE<79J?L?JO7IF7HJE<J>;I7C;EL;H7BBI9>;C; #

           IK8C?JJ>7J?J?IFHE878B;J>7J7H;L?;ME<7BBE<$ &EF;PWI7D:*'')WI8EEAI

           7D:H;9EH:I 7D:7DEL;H7BBJH79?D=E<$ &EF;PWI7D:*'')WI?DJ7A;E<<KD:I

           7D: ;NF;D:?JKH;I M?BB H;L;7B EJ>;H T?DL;IJEHIU 7I M;BB 7I J>; <78H?97J;: 7D:

           <H7K:KB;DJ:E9KC;DJIKI;:?D<KHJ>;H7D9;E<8EJ>J>;?DL;IJC;DJI9>;C; 

       <  #D:?L?:K7BI M>E F7HJ?9?F7J; ?D <H7K:KB;DJ I9>;C;I HEKJ?D;BO 9ED9;7B ?D J>;?H

           H;I?:;D9;I B7H=; 7CEKDJI E< 9KHH;D9O  <?D7D9?7B ?DIJHKC;DJI  FH;9?EKI C;J7BI 

           @;M;BHO  7KJECE8?B; J?JB;I  7KJECE8?B; A;OI  9E?DI  FEIJ7B CED;O EH:;HI  7?HB?D;

           J?9A;JI  H;DJ7B 97H 7=H;;C;DJI  FEIJ E<<?9; 8EN H;DJ7B 7=H;;C;DJI  A;OI JE I7<;

           :;FEI?J 8EN;I  7D: EJ>;H ?J;CI E< L7BK; 7D: EH FHE9;;:I E< <H7K:KB;DJ I9>;C;I 

           CED;O B7KD:;H?D= 79J?L?J?;I  7D: ;L?:;D9; E< <?D7D9?7B JH7DI79J?EDI H;B7J?D= JE

           E8J7?D?D=  JH7DI<;HH?D=  I;9H;J?D=  EH IF;D:?D= B7H=; IKCI E< CED;O C7:; <HEC

           ;D=7=?D=?D<H7K:I CED;OB7KD:;H?D= 7D:EJ>;H?BB;=7B79J?L?J?;I #DJ>?IC7JJ;H #

           ADEM J>7J $  &EF;P >7I FKH9>7I;: JME I7<;I <HEC    !/(-   2EKH

           7<<?7DJH;L?;M;:8EJ>?DLE?9;IED;>7I7D7::H;IIE< '7JJ;H>EHDH?L; 

            B7=IJ7<< 3 .>;I7<;?I7&?8;HJO&?D9EBD .>;I;9ED:?DLE?9;>7I7

           T-"#*.)U7::H;IIE<  L;-J; B7=IJ7<< 3 .>;I7<;?I7

           &?8;HJO(7J?ED7BB7II?9-;B;9JNJH;C;M?J>7D;B;9JHED?9BE9A 


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    Case 3:21-mb-04346-CDB Document 1-1 Filed 11/08/21 Page 50 of 86

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       =  #D:?L?:K7BIM>E;D=7=;?D?BB;=7B79J?L?JO7H;DEJKDB?A;7DOEJ>;H?D:?L?:K7B?DEKH

          IE9?;JO?DJ>7JJ>;OC7?DJ7?D:E9KC;DJI7D:H;9EH:I .>;I;:E9KC;DJI7D:H;9EH:I

          M?BBDEHC7BBO8;H;J7?D;:<EHBED=F;H?E:IE<J?C; H;=7H:B;IIE<M>;J>;HJ>;?HL7BK;

          JE J>; ?D:?L?:K7B >7I :?C?D?I>;:  )<J;DJ?C;I  J>?I JOF; E< ;L?:;D9; ?I =;D;H7J;: 

          C7?DJ7?D;: 7D:IK8I;GK;DJBO<EH=EJJ;D78EKJ ";D9; :E9KC;DJIJ>7JED;MEKB:

          DEHC7BBO J>?DA 7 FHK:;DJ F;HIED MEKB: :;IJHEO 8;97KI; E< J>;?H ?D9H?C?D7J?D=

          D7JKH;7H;IJ?BBFEII;II;:CEDJ>I EH;L;DO;7HI 7<J;HJ>;O9EC;?DJEJ>;IK8@;9JWI

          FEII;II?ED  )<J;DJ?C;I J>;I; ?D:?L?:K7BI :E DEJ ;L;D H;7B?P; J>; ?D9H?C?D7J?D=

          D7JKH; E< J>; :E9KC;DJI J>;O A;;F EH 8;B?;L; J>7J EJ>;HI M?BB DEJ 7FFH;9?7J; J>;

          ?D9H?C?D7J?D=D7JKH;E<J>;C7J;H?7B 

       >  #DCOJH7?D?D=7D:;NF;H?;D9; ?D:?L?:K7BIM>E7H;7JJ;CFJ?D=JE9ED9;7BJ>;D7JKH;

          E<J>;?H?D9EC;E<J;D9ED:K9JJH7DI79J?EDIKI?D=9KHH;D9OIE7IJE8;KDJH79;78B;

          7D:  7BED= M?J> J>; C7DD;H ?D M>?9> J>; 9KHH;D9O ?I >7D:B;:  97HH?;:  7D:

          9ED9;7B;:  C7O ;IJ78B?I> 7 9EDD;9J?ED 8;JM;;D J>; GK;IJ?ED78B; 9KHH;D9O 7D: 7

          <H7K: #DCOJH7?D?D=7D:;NF;H?;D9; KD;NFB7?D;:M;7BJ>?IFHE87J?L;;L?:;D9;E<

          9H?C;ICEJ?L7J;:8O=H;;: ; = ?DJ;HIJ7J;M?H;<H7K: 87DA<H7K: C7?B<H7K: 7D: 

          CED;OB7KD:;H?D= #DJ>?IC7JJ;H $ &EF;PEH9>;IJH7J;I?DL;IJC;DJI9>;C;M>;H;

          ?DL;IJEHIWCED;O?IJH7DI<;HH;:JE799EKDJI?D$ &EF;PWI9EDJHEB7D:?D$ &EF;PWI

          D7C;  KHJ>;HCEH; C?BB?EDIE<:EBB7HI>7L;8;;DI;DJJE9E?D9ECF7D?;I M>?9>#

          IK8C?JJ>;H;?IFHE878B;97KI;JE8;B?;L;J>;CED;OM7I9EDL;HJ;:JE=EB: I?BL;H 

          7D: EHEJ>;H9ECCE:?J?;IJ>7J7H;DEJ?DJ>;?DL;IJEHIWD7C;I7D: EHFEII;II?ED 

          8KJH7J>;H$ &EF;PWIFEII;II?ED 

       ?  #D:?L?:K7BIM>E;D=7=;?D<H7K:IJEH;9;?L;<KD:IE<J;D7JJ;CFJJEB;=?J?C?P;EH


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    Case 3:21-mb-04346-CDB Document 1-1 Filed 11/08/21 Page 51 of 86

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
           9ED9;7B J>; D7JKH; E< J>;I; <KD:I  .E 799ECFB?I> J>;I; =E7BI  J>;I; ?D:?L?:K7BI

           KJ?B?P;<7BI;7D:<?9J?J?EKI8KI?D;IIH;9EH:I <EH;?=D7D::EC;IJ?987DAI I;9KH?J?;I 

           97I>?;HWI 9>;9AI  CED;O :H7<JI  M?H; JH7DI<;HI  1;IJ;HD /D?ED 7D: EJ>;H CED;O

           I;HL?9;8KI?D;II;I B;JJ;HIE<9H;:?J 8HEA;H7=;>EKI;I H;7B;IJ7J;I>;BB9EHFEH7J?EDI 

           7D: 8KI?D;II <HEDJI  #D J>?I C7JJ;H  $  &EF;P FHEL?:;: ;C7?BI  :E9KC;DJI 

           *EM;H*E?DJFH;I;DJ7J?ED7D:IJ7J;C;DJIJ>7JFKHFEHJH;JKHDIJ>7J7H;DEJ?DB?D;M?J>

           7D7D7BOI?IE<*'')7D:$ &EF;PWI799EKDJI 

       @  #D:?L?:K7BIM>E;D=7=;?D<H7K:I IM?D:B;I7D:EJ>;H9H?C;IE<=H;;:7JJ;CFJJE

           9ED9;7BJ>;?H9ED:K9J8O:?I=K?I?D=J>;?H79J?L?J?;I7IB;=?J?C7J;8KI?D;II79J?L?J?;I

           EHJH7DI79J?EDI #DJ>?IC7JJ;H $ &EF;PIK8C?JJ;:7*'')IJ7J;C;DJJELEBL;

           7DA 7D: .HKIJ FKHFEHJ?D= JE I>EM J>7J >; >7: 7D 799EKDJ 87B7D9; EL;H  

           C?BB?ED 

       A  #D:?L?:K7BI M>E ;D=7=; ?D 9ECCKD?97J?ED L?7 ;C7?B ?D9BK:?D= J>; I;D:?D= E<

           ;B;9JHED?9<?B;I7JJ79>;:JE;C7?BI 7BIE>7L;7J;D:;D9OJEC7?DJ7?DJ>;;B;9JHED?9

           H;9EH:IEH<?B;I #<?D:?L?:K7BI:EDEJFKHFEI;BOC7?DJ7?DJ>;C J>;OE<J;D<EH=;JJE

           :;B;J;EHH;CEL;J>;C<HECJ>;?H;C7?B799EKDJI I:;I9H?8;:;BI;M>;H;?DJ>?I

           7<<?:7L?J $ &EF;P7D:*'');D=7=;:?DJ>;;C7?B?D=E<C;II7=;I7D:;N9>7D=;

           E<<?B;I 

       B  #D CO JH7?D?D= 7D: ;NF;H?;D9;  ?D:?L?:K7BI ?DLEBL;: ?D 8KI?D;II 7D: EH 8KI?D;II

           EMD;HI M?BB JH7DIFEHJ 7D: EH IJEH; :E9KC;DJI 7D: EH 9ECFKJ;HI ?D J>;?H

           7KJECE8?B;I  I :;I9H?8;: 78EL;  $  &EF;P H;JH?;L;: M>7J 7FF;7H;: JE 8;

           :E9KC;DJI<HEC>?IL;>?9B;?DJEJ>;C;;J?D=M?J>1 

       C  #DCOJH7?D?D=7D:;NF;H?;D9; ?D:?L?:K7BIM>E9ECC?J9H?C;IE<=H;;:E<J;DKJ?B?P;


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    Case 3:21-mb-04346-CDB Document 1-1 Filed 11/08/21 Page 52 of 86

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
         IEF>?IJ?97J;:;B;9JHED?97D:9ECCKD?97J?ED;GK?FC;DJJE7II?IJJ>;C?DJ>;?H<H7K:

         I9>;C;I  ; =  9ECFKJ;HI  <79I?C?B; C79>?D;I  :?=?J7B  7BF>7  7D: LE?9; F7=;HI 

         FEHJ78B;7D:9;BBKB7HJ;B;F>ED;I 9KHH;D9O9EKDJ?D=C79>?D;I J;B;F>ED;7DIM;H?D=

         C79>?D;I ;B;9JHED?9IJEH7=;:;L?9;IIK9>7IF;HIED7B:7J77II?IJ7DJI7D:7K:?E7D:

         L?:;EIKHL;?BB7D9;7D:9EKDJ;H IKHL;?BB7D9;;GK?FC;DJ ECFKJ;HIJEH7=;:;L?9;I 

         IK9>7I:?IA;JJ;I J7F;I B7I;H:?IAI 9ECF79J:?=?J7B:?IAI F;HIED7B:7J77II?IJ7DJI

         7D:EJ>;HI97DIJEH;J>;;GK?L7B;DJE<J>EKI7D:IE<F7=;IE<?D<EHC7J?ED 1>;DJ>;

         KI;HM7DJIJE9ED9;7B9H?C?D7B;L?:;D9; I >;E<J;DIJEH;I?J?DH7D:ECEH:;HM?J>

         :;9;FJ?L; <?B; D7C;I  $  &EF;P KJ?B?P;: ;C7?B JE FHEL?:; 1 7D: 1

         ?D<EHC7J?EDH;=7H:?D=*'')  KHJ>;H $ &EF;P9ECCKD?97J;:L?7J;NJC;II7=;

         M?J> 1  KHJ>;HCEH;  OEKH 7<<?7DJ H;L?;M;: ?D<EHC7J?ED <HEC ;DJKHOB?DA 

         M>?9>H;L;7B;:J>;<EBBEM?D=

             ?  .>;H;9EH:IH;L;7B;:#*7::H;II   M7I7II?=D;:JE*'')7J

                 L;  B7=IJ7<< H?PED7-K?J <HECEDEH78EKJFH?B  

                JEFH?B  2EKH7<<?7DJH;L?;M;:H;9EH:I<HEC>7HB;I-9>M78J>7J

                H;L;7B;:$ &EF;PWI799EKDJM7I799;II;:8OJ>;7<EH;C;DJ?ED;:#*7::H;II

                EDEH78EKJFH?B  7D:FH?B  

            ??  .>;H;9EH:IH;L;7B;:#*7::H;II   M7I7II?=D;:JE$ &EF;P7J

                '7JJ;H>EHDH  B7=IJ7<< H?PED7 <HECEDEH78EKJFH?B

                    JE '7O     2EKH 7<<?7DJ H;L?;M;: H;9EH:I <HEC >7HB;I

                -9>M78 J>7J H;L;7B;: $  &EF;PWI 799EKDJ M7I 799;II;: 8O J>;

                7<EH;C;DJ?ED;:#*7::H;IIEDEH78EKJFH?B  FH?B  7D:

                '7O  


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        Case 3:21-mb-04346-CDB Document 1-1 Filed 11/08/21 Page 53 of 86

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                                                
          I :;I9H?8;: 78EL; 7D: ?D JJ79>C;DJ   J>?I 7FFB?97J?ED I;;AI F;HC?II?ED JE

I;7H9><EHH;9EH:IJ>7JC?=>J8;<EKD:7JJ>;-/$.*,'#--7D:ED$ &EF;P ?DM>7J;L;H

<EHCJ>;O7H;<EKD: )D;<EHC?DM>?9>J>;H;9EH:IC?=>J8;<EKD:?I:7J7IJEH;:ED79ECFKJ;HWI

>7H: :H?L; EH EJ>;H IJEH7=; C;:?7  .>KI  J>?I M7HH7DJ MEKB: 7KJ>EH?P; J>; I;?PKH; E< ;B;9JHED?9

IJEH7=; C;:?7 EH  FEJ;DJ?7BBO  J>; 9EFO?D= E< ;B;9JHED?97BBO IJEH;: ?D<EHC7J?ED  7BB KD:;H ,KB;

;   

             # IK8C?J J>7J ?< 7 9ECFKJ;H EH IJEH7=; C;:?KC ?I <EKD: ED J>; -/$.

*,'#--7D: EHED$ &EF;P J>;H;?IFHE878B;97KI;JE8;B?;L;J>;H;9EH:IH;<;H;D9;:78EL;

M?BB8;IJEH;:EDJ>7J9ECFKJ;HEHIJEH7=;C;:?KC <EH7JB;7IJJ>;<EBBEM?D=H;7IEDI

            7  7I;:EDCOADEMB;:=;7D:JH7?D?D= #ADEMJ>7J<EH;DI?9;N7C?D;HI97DH;9EL;H

                9ECFKJ;H<?B;IEHH;CD7DJIE<IK9><?B;ICEDJ>IEH;L;DO;7HI7<J;HJ>;O>7L;8;;D

                :EMDBE7:;:EDJE7IJEH7=;C;:?KC :;B;J;: EHL?;M;:L?7J>;#DJ;HD;J B;9JHED?9

                <?B;I:EMDBE7:;:JE7IJEH7=;C;:?KC97D8;IJEH;:<EHO;7HI7JB?JJB;EHDE9EIJ 

                L;DM>;D<?B;I>7L;8;;D:;B;J;: J>;O97D8;H;9EL;H;:CEDJ>IEHO;7HIB7J;H

                KI?D= <EH;DI?9 JEEBI  .>?I ?I IE 8;97KI; M>;D 7 F;HIED T:;B;J;IU 7 <?B; ED 7

                9ECFKJ;H J>;:7J79EDJ7?D;:?DJ>;<?B;:E;IDEJ79JK7BBO:?I7FF;7HH7J>;H J>7J:7J7

                H;C7?DIEDJ>;IJEH7=;C;:?KCKDJ?B?J?IEL;HMH?JJ;D8OD;M:7J7 

            8  .>;H;<EH; :;B;J;:<?B;I EHH;CD7DJIE<:;B;J;:<?B;I C7OH;I?:;?D<H;;IF79;EH

                IB79AIF79;SJ>7J?I ?DIF79;EDJ>;IJEH7=;C;:?KCJ>7J?IDEJ9KHH;DJBO8;?D=KI;:

                8O 7D 79J?L; <?B;S<EH BED= F;H?E:I 8;<EH; J>;O 7H; EL;HMH?JJ;D  #D 7::?J?ED  7

                9ECFKJ;HWIEF;H7J?D=IOIJ;CC7O7BIEA;;F7H;9EH:E<:;B;J;::7J7?D7TIM7FUEH

                TH;9EL;HOU<?B; 


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       Case 3:21-mb-04346-CDB Document 1-1 Filed 11/08/21 Page 54 of 86

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
           9  1>EBBO 7F7HJ <HEC KI;H =;D;H7J;: <?B;I  9ECFKJ;H IJEH7=; C;:?7S?D F7HJ?9KB7H 

               9ECFKJ;HIW?DJ;HD7B>7H::H?L;IS9EDJ7?D;B;9JHED?9;L?:;D9;E<>EM7D?D:?L?:K7B

               >7IKI;:79ECFKJ;H M>7JJ>;F;HIEDKI;:?J<EH 7D:M>E>7IKI;:?J .E=?L;7

               <;M ;N7CFB;I  J>?I <EH;DI?9 ;L?:;D9; 97D J7A; J>; <EHC E< EF;H7J?D= IOIJ;C

               9ED<?=KH7J?EDI 7HJ?<79JI<HECEF;H7J?D=IOIJ;CEH7FFB?97J?EDEF;H7J?ED<?B;IOIJ;C

               :7J7 IJHK9JKH;I  7D: L?HJK7B C;CEHO TIM7FU EH F7=?D= <?B;I  ECFKJ;H KI;HI

               JOF?97BBO:EDEJ;H7I;EH:;B;J;J>?I;L?:;D9; 8;97KI;IF;9?7BIE<JM7H;?IJOF?97BBO

               H;GK?H;:<EHJ>7JJ7IA "EM;L;H ?J?IJ;9>D?97BBOFEII?8B;JE:;B;J;J>?I?D<EHC7J?ED 

           :  -?C?B7HBO <?B;IJ>7J7D?D:?L?:K7BL?;M;:L?7J>;#DJ;HD;J7H;IEC;J?C;I

               7KJEC7J?97BBO:EMDBE7:;:?DJE7J;CFEH7HO#DJ;HD;J:?H;9JEHOEHT979>; U

            I<KHJ>;H:;I9H?8;:?DJJ79>C;DJ J>?I7FFB?97J?EDI;;AIF;HC?II?EDJEBE97J;

DEJEDBO9ECFKJ;H<?B;IJ>7JC?=>JI;HL;7I:?H;9J;L?:;D9;E<J>;9H?C;I:;I9H?8;:?DJ>;M7HH7DJ 

8KJ7BIE<EH<EH;DI?9;B;9JHED?9;L?:;D9;J>7J;IJ78B?I>;I>EM9ECFKJ;HIM;H;KI;: J>;FKHFEI;E<

J>;?HKI; M>EKI;:J>;C 7D:M>;D .>;H;?IFHE878B;97KI;JE8;B?;L;J>7JJ>?I<EH;DI?9;B;9JHED?9

;L?:;D9;M?BB8;ED7DOIJEH7=;C;:?KC?DJ>;FH;C?I;I8;97KI;

           7  7J7EDJ>;IJEH7=;C;:?KC97DFHEL?:;;L?:;D9;E<7<?B;J>7JM7IED9;EDJ>;

               IJEH7=;C;:?KC8KJ>7II?D9;8;;D:;B;J;:EH;:?J;: EHE<7:;B;J;:FEHJ?EDE<7

               <?B;IK9>7I7F7H7=H7F>J>7J>7I8;;D:;B;J;:<HEC7MEH:FHE9;II?D=<?B; 0?HJK7B

               C;CEHOF7=?D=IOIJ;CI97DB;7L;JH79;IE<?D<EHC7J?EDEDJ>;IJEH7=;C;:?KCJ>7J

               I>EM M>7J J7IAI 7D: FHE9;II;I M;H; H;9;DJBO 79J?L;  1;8 8HEMI;HI  ; C7?B

               FHE=H7CI  7D: 9>7J FHE=H7CI IJEH; 9ED<?=KH7J?ED ?D<EHC7J?ED ED J>; IJEH7=;

               C;:?KC J>7J 97D H;L;7B ?D<EHC7J?ED IK9> 7I EDB?D; D?9AD7C;I 7D: F7IIMEH:I 

               )F;H7J?D= IOIJ;CI 97D H;9EH: 7::?J?ED7B ?D<EHC7J?ED  IK9> 7I J>; 7JJ79>C;DJ E<


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    Case 3:21-mb-04346-CDB Document 1-1 Filed 11/08/21 Page 55 of 86

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
           F;H?F>;H7BI J>;7JJ79>C;DJE</-<B7I>IJEH7=;:;L?9;IEHEJ>;H;NJ;HD7BIJEH7=;

           C;:?7 7D:J>;J?C;IJ>;9ECFKJ;HM7I?DKI; ECFKJ;H<?B;IOIJ;CI97DH;9EH:

           ?D<EHC7J?ED 78EKJ J>; :7J;I <?B;I M;H; 9H;7J;: 7D: J>; I;GK;D9; ?D M>?9> J>;

           9ECFKJ;H 9H;7J;: J>;C  7BJ>EK=> ?J ?I FEII?8B; <EH 7 KI;H JE B7J;H <7BI?<O J>?I

           ?D<EHC7J?ED 

       8  I ;NFB7?D;: >;H;?D  ?D<EHC7J?ED IJEH;: M?J>?D 7 9ECFKJ;H 7D: EJ>;H ;B;9JHED?9

           IJEH7=;C;:?7C7OFHEL?:;9HK9?7B;L?:;D9;E<J>;TM>E M>7J M>O M>;D M>;H; 

           7D: >EMU E< J>; 9H?C?D7B 9ED:K9J KD:;H ?DL;IJ?=7J?ED  J>KI ;D78B?D= J>; /D?J;:

           -J7J;IJE;IJ78B?I>7D:FHEL;;79>;B;C;DJEH7BJ;HD7J?L;BO JE;N9BK:;J>;?DDE9;DJ

           <HEC<KHJ>;HIKIF?9?ED #DCOJH7?D?D=7D:;NF;H?;D9; ?D<EHC7J?EDIJEH;:M?J>?D7

           9ECFKJ;HEHIJEH7=;C;:?7; = H;=?IJHO?D<EHC7J?ED 9ECCKD?97J?EDI ?C7=;I7D:

           CEL?;I JH7DI79J?ED7B?D<EHC7J?ED H;9EH:IE<I;II?EDJ?C;I7D::KH7J?EDI #DJ;HD;J

           >?IJEHO 7D:7DJ? L?HKI IFOM7H; 7D:C7BM7H;:;J;9J?EDFHE=H7CI 97D?D:?97J;M>E

           >7I KI;: EH 9EDJHEBB;: J>; 9ECFKJ;H EH IJEH7=; C;:?7  .>?I TKI;H 7JJH?8KJ?EDU

           ;L?:;D9;?I7D7BE=EKIJEJ>;I;7H9><EHT?D:?9?7E<E99KF7D9OUM>?B;;N;9KJ?D=7

           I;7H9>M7HH7DJ7J7H;I?:;D9; .>;;N?IJ;D9;EH78I;D9;E<7DJ? L?HKI IFOM7H; 7D:

           C7BM7H; :;J;9J?ED FHE=H7CI C7O ?D:?97J; M>;J>;H J>; 9ECFKJ;H M7I H;CEJ;BO

           799;II;: J>KI?D9KBF7J?D=EH;N9KBF7J?D=J>;9ECFKJ;HEMD;H  KHJ>;H 9ECFKJ;H

           7D:IJEH7=;C;:?779J?L?JO97D?D:?97J;>EM7D:M>;DIEC;ED;799;II;:EHKI;:

           J>; 9ECFKJ;H EH IJEH7=; C;:?7  EH ;N7CFB;  7I :;I9H?8;: >;H;?D  9ECFKJ;HI

           JOF?97BBO 9EDJ7?D ?D<EHC7J?ED J>7J BE= 9ECFKJ;H KI;H 799EKDJ I;II?ED J?C;I 7D:

           :KH7J?EDI  9ECFKJ;H 79J?L?JO 7IIE9?7J;: M?J> KI;H 799EKDJI  ;B;9JHED?9 IJEH7=;

           C;:?7J>7J9EDD;9J;:M?J>J>;9ECFKJ;H7D:J>;#*7::H;II;IJ>HEK=>M>?9>J>;


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    Case 3:21-mb-04346-CDB Document 1-1 Filed 11/08/21 Page 56 of 86

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
          9ECFKJ;H 799;II;: D;JMEHAI 7D: J>; #DJ;HD;J  -K9> ?D<EHC7J?ED 7BBEMI

          ?DL;IJ?=7JEHI JE KD:;HIJ7D: J>; 9>HEDEBE=?97B 9EDJ;NJ E< 9ECFKJ;H EH ;B;9JHED?9

          IJEH7=; C;:?7 799;II  KI;  7D: ;L;DJI H;B7J?D= JE J>; 9H?C; KD:;H ?DL;IJ?=7J?ED 

          ::?J?ED7BBO  IEC; ?D<EHC7J?ED IJEH;: M?J>?D 7 9ECFKJ;H EH ;B;9JHED?9 IJEH7=;

          C;:?7 C7O FHEL?:; 9HK9?7B ;L?:;D9; H;B7J?D= JE J>; F>OI?97B BE97J?ED E< EJ>;H

          ;L?:;D9;7D:J>;IKIF;9J  EH;N7CFB; ?C7=;IIJEH;:ED79ECFKJ;HC7O8EJ>I>EM

          7 F7HJ?9KB7H BE97J?ED 7D: >7L; =;EBE97J?ED ?D<EHC7J?ED ?D9EHFEH7J;: ?DJE ?JI <?B;

          :7J7 -K9><?B;:7J7JOF?97BBO7BIE9EDJ7?DI?D<EHC7J?ED?D:?97J?D=M>;DJ>;<?B;EH

          ?C7=;M7I9H;7J;: .>;;N?IJ;D9;E<IK9>?C7=;<?B;I 7BED=M?J>;NJ;HD7B:;L?9;

          9EDD;9J?ED BE=I  C7O 7BIE ?D:?97J; J>; FH;I;D9; E< 7::?J?ED7B ;B;9JHED?9 IJEH7=;

          C;:?7; = 7:?=?J7B97C;H7EH9;BBKB7HF>ED;M?J>7D?D9EHFEH7J;:97C;H7 .>;

          =;E=H7F>?9 7D: J?C;B?D; ?D<EHC7J?ED :;I9H?8;: >;H;?D C7O ;?J>;H ?D9KBF7J; EH

          ;N9KBF7J; J>; 9ECFKJ;H KI;H  &7IJ  ?D<EHC7J?ED IJEH;: M?J>?D 7 9ECFKJ;H C7O

          FHEL?:;H;B;L7DJ?DI?=>J?DJEJ>;9ECFKJ;HKI;HWIIJ7J;E<C?D:7I?JH;B7J;IJEJ>;

          E<<;DI; KD:;H ?DL;IJ?=7J?ED  EH ;N7CFB;  ?D<EHC7J?ED M?J>?D J>; 9ECFKJ;H C7O

          ?D:?97J;J>;EMD;HWICEJ?L;7D:?DJ;DJJE9ECC?J79H?C;; = #DJ;HD;JI;7H9>;I

          ?D:?97J?D=9H?C?D7BFB7DD?D= EH9EDI9?EKID;IIE<=K?BJ; = HKDD?D=7TM?F?D=U

          FHE=H7CJE:;IJHEO;L?:;D9;EDJ>;9ECFKJ;HEHF7IIMEH:FHEJ;9J?D= ;D9HOFJ?D=

          IK9>;L?:;D9;?D7D;<<EHJJE9ED9;7B?J<HECB7M;D<EH9;C;DJ 

       9   F;HIED M?J> 7FFHEFH?7J; <7C?B?7H?JO M?J> >EM 7 9ECFKJ;H MEHAI 97D  7<J;H

          ;N7C?D?D=J>?I<EH;DI?9;L?:;D9;?D?JIFHEF;H9EDJ;NJ :H7M9ED9BKI?EDI78EKJ>EM

          9ECFKJ;HIM;H;KI;: J>;FKHFEI;E<J>;?HKI; M>EKI;:J>;C 7D:M>;D 




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    Case 3:21-mb-04346-CDB Document 1-1 Filed 11/08/21 Page 57 of 86

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
       :  .>; FHE9;II E< ?:;DJ?<O?D= J>; ;N79J <?B;I  8BE9AI  H;=?IJHO ;DJH?;I  BE=I  EH EJ>;H

            <EHCI E< <EH;DI?9 ;L?:;D9; ED 7 IJEH7=; C;:?KC J>7J 7H; D;9;II7HO JE :H7M 7D

            799KH7J;9ED9BKI?ED?I7:OD7C?9FHE9;II 1>?B;?J?IFEII?8B;JEIF;9?<O?D7:L7D9;

            J>;H;9EH:IIEK=>J 7H;L?;MJ;7C97DDEJ7BM7OIH;7:?BOH;L?;M9ECFKJ;H;L?:;D9;

            EH:7J7?DEH:;HJEF7II?J7BED=JE?DL;IJ?=7JEHI 1>;J>;H:7J7IJEH;:ED79ECFKJ;H

            ?I ;L?:;D9; C7O :;F;D: ED EJ>;H ?D<EHC7J?ED IJEH;: ED J>; 9ECFKJ;H 7D: J>;

            7FFB?97J?ED E< ADEMB;:=; 78EKJ >EM 7 9ECFKJ;H 8;>7L;I  .>;H;<EH;  9EDJ;NJK7B

            ?D<EHC7J?EDD;9;II7HOJEKD:;HIJ7D:EJ>;H;L?:;D9;7BIE<7BBIM?J>?DJ>;I9EF;E<

            J>;M7HH7DJ 

       ;    KHJ>;H ?D<?D:?D=;L?:;D9;E<>EM7F;HIEDKI;:79ECFKJ;H J>;FKHFEI;E<?JI

            KI; M>EKI;:?J 7D:M>;D IEC;J?C;I?J?ID;9;II7HOJE;IJ78B?I>J>7J7F7HJ?9KB7H

            J>?D=?IDEJFH;I;DJED7IJEH7=;C;:?KC  EH;N7CFB; J>;FH;I;D9;EH78I;D9;E<

            9EKDJ;H <EH;DI?9 FHE=H7CI EH 7DJ? L?HKI FHE=H7CI 7D: 7IIE9?7J;: :7J7  C7O 8;

            H;B;L7DJJE;IJ78B?I>?D=J>;KI;HWI?DJ;DJ 

       <  #ADEMJ>7JM>;D7D?D:?L?:K7BKI;I79ECFKJ;H?D7D?DL;IJC;DJ<H7K:I9>;C; J>;

            ?D:?L?:K7BWI 9ECFKJ;H M?BB =;D;H7BBO I;HL; 8EJ> 7I 7D ?DIJHKC;DJ7B?JO <EH

            9ECC?JJ?D=J>;9H?C; 7D:7BIE7I7IJEH7=;C;:?KC<EH;L?:;D9;E<J>;9H?C; .>;

            9ECFKJ;H?I7D?DIJHKC;DJ7B?JOE<J>;9H?C;8;97KI;IEC;ED;KI;:?J7I7C;7DIE<

            9ECC?JJ?D= J>; 9H?C?D7B E<<;DI;  .>; 9ECFKJ;H ?I 7BIE B?A;BO JE 8; 7 IJEH7=;

            C;:?KC<EH;L?:;D9;E<9H?C;  HECCOJH7?D?D= #8;B?;L;J>7J79ECFKJ;HKI;:JE

            9ECC?J 7 9H?C; E< J>?I JOF; C7O 9EDJ7?D ;L?:;D9; E< >EM $  &EF;P KI;: J>;

            9ECFKJ;HI;DJEHH;9;?L;::7J7DEJ;I7IJE>EMJ>;9H?C?D7B9ED:K9JM7I79>?;L;:




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       Case 3:21-mb-04346-CDB Document 1-1 Filed 11/08/21 Page 58 of 86

                                                

                 H;9EH:IE<#DJ;HD;J:?I9KII?EDI78EKJJ>;9H?C;7D:EJ>;HH;9EH:IJ>7J?D:?97J;J>;

                 D7JKH;E<J>;E<<;DI; 

              7I;: KFED CO JH7?D?D= 7D: ?D<EHC7J?ED H;B7O;: JE C; 8O 7=;DJI 7D: EJ>;HI

?DLEBL;:?DJ>;<EH;DI?9;N7C?D7J?EDE<9ECFKJ;HI #ADEMJ>7J9ECFKJ;H:7J797D8;IJEH;:ED7

L7H?;JOE<IOIJ;CI7D:IJEH7=;:;L?9;I ?D9BK:?D=;NJ;HD7B7D:?DJ;HD7B>7H::H?L;I <B7I>:H?L;I 

J>KC8 :H?L;I  C?9HE - 97H:I  C79HE - 97H:I  0I  =7C?D= IOIJ;CI  -#' 97H:I  9;BBKB7H

F>ED;I97F78B;E<IJEH7=; <BEFFO:?IAI 9ECF79J:?IAI C7=D;J?9J7F;I C;CEHO97H:I C;CEHO

9>?FI 7D:EDB?D;EHE<<I?J;IJEH7=;I;HL;HIC7?DJ7?D;:8O9EHFEH7J?EDI ?D9BK:?D=8KJDEJB?C?J;:

JET9BEK:UIJEH7=; #7BIEADEMJ>7J:KH?D=J>;I;7H9>E<J>;FH;C?I;I?J?IDEJ7BM7OIFEII?8B;JE

I;7H9>9ECFKJ;H;GK?FC;DJ7D:IJEH7=;:;L?9;I<EH:7J7<EH7DKC8;HE<H;7IEDI ?D9BK:?D=J>;

<EBBEM?D=

              7  -;7H9>?D=9ECFKJ;HIOIJ;CI?I7>?=>BOJ;9>D?97BFHE9;II M>?9>H;GK?H;IIF;9?<?9

                 ;NF;HJ?I; 7D: IF;9?7B?P;: ;GK?FC;DJ  .>;H; 7H; IE C7DO JOF;I E< 9ECFKJ;H

                 >7H:M7H;7D:IE<JM7H;?DKI;JE:7OJ>7J?J?I?CFEII?8B;JE8H?D=JEJ>;I;7H9>I?J;

                 7BB E< J>; J;9>D?97B C7DK7BI 7D: IF;9?7B?P;: ;GK?FC;DJ D;9;II7HO JE 9ED:K9J 7

                 J>EHEK=> I;7H9>  #D 7::?J?ED  ?J C7O 7BIE 8; D;9;II7HO JE 9EDIKBJ M?J> 9ECFKJ;H

                 F;HIEDD;BM>E>7L;IF;9?<?9;NF;HJ?I;?DJ>;JOF;E<9ECFKJ;H IE<JM7H; M;8I?J; 

                 EHEF;H7J?D=IOIJ;CJ>7J?I8;?D=I;7H9>;:

              8  -;7H9>?D= 9ECFKJ;H IOIJ;CI H;GK?H;I J>; KI; E< FH;9?I;  I9?;DJ?<?9 FHE9;:KH;I 

                 M>?9> 7H; :;I?=D;: JE C7?DJ7?D J>; ?DJ;=H?JO E< J>; ;L?:;D9; 7D: JE H;9EL;H

                 T>?::;D U ;H7I;:  9ECFH;II;:  ;D9HOFJ;:  EH F7IIMEH: FHEJ;9J;: :7J7  ECFKJ;H

                 >7H:M7H;7D:IJEH7=;:;L?9;IC7O9EDJ7?DT8EE8OJH7FIUJ>7J:;IJHEOEH7BJ;H:7J7

                 ?< 9;HJ7?D FHE9;:KH;I 7H; DEJ I9HKFKBEKIBO <EBBEM;:  -?D9; 9ECFKJ;H :7J7 ?I


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       Case 3:21-mb-04346-CDB Document 1-1 Filed 11/08/21 Page 59 of 86

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
               F7HJ?9KB7HBOLKBD;H78B;JE?D7:L;HJ;DJEH?DJ;DJ?ED7BCE:?<?97J?EDEH:;IJHK9J?ED 7

               9EDJHEBB;: ;DL?HEDC;DJ  IK9> 7I 7 B7M ;D<EH9;C;DJ B78EH7JEHO  ?I ;II;DJ?7B JE

               9ED:K9J?D=79ECFB;J;7D:799KH7J;7D7BOI?IE<J>;;GK?FC;DJ7D:IJEH7=;:;L?9;I

               <HECM>?9>J>;:7J7M?BB8;;NJH79J;:

           9  .>; LEBKC; E< :7J7 IJEH;: ED C7DO 9ECFKJ;H IOIJ;CI 7D: IJEH7=; :;L?9;I M?BB

               JOF?97BBO8;IEB7H=;J>7J?JM?BB8;>?=>BO?CFH79J?97BJEI;7H9><EH:7J7:KH?D=J>;

               ;N;9KJ?EDE<J>;F>OI?97BI;7H9>E<J>;FH;C?I;I7D:

           :  ECFKJ;HKI;HI97D7JJ;CFJJE9ED9;7B:7J7M?J>?D9ECFKJ;H;GK?FC;DJ7D:IJEH7=;

               :;L?9;IJ>HEK=>7DKC8;HE<C;J>E:I ?D9BK:?D=J>;KI;E<?DDE9KEKIEHC?IB;7:?D=

               <?B;D7C;I 7D: ;NJ;DI?EDI  EH ;N7CFB;  <?B;I M?J> J>; ;NJ;DI?ED T @F=U E<J;D 7H;

               ?C7=;<?B;I>EM;L;H 7KI;H97D;7I?BO9>7D=;J>;;NJ;DI?EDJET JNJUJE9ED9;7BJ>;

               ?C7=; 7D: C7A; ?J 7FF;7H J>7J J>; <?B; 9EDJ7?DI J;NJ  ECFKJ;H KI;HI 97D 7BIE

               7JJ;CFJ JE 9ED9;7B :7J7 8O KI?D= ;D9HOFJ?ED  M>?9> C;7DI J>7J 7 F7IIMEH: EH

               :;L?9;  IK9> 7I 7 T:ED=B;U EH TA;O97H: U ?I D;9;II7HO JE :;9HOFJ J>; :7J7 ?DJE

               H;7:78B; <EHC   #D 7::?J?ED  9ECFKJ;H KI;HI 97D 9ED9;7B :7J7 M?J>?D 7DEJ>;H

               I;;C?D=BOKDH;B7J;:7D:?DDE9KEKI<?B;?D7FHE9;II97BB;:TIJ;=7DE=H7F>O U EH

               ;N7CFB; 8OKI?D=IJ;=7DE=H7F>O79ECFKJ;HKI;H97D9ED9;7BJ;NJ?D7D?C7=;<?B;

               M>?9>97DDEJ8;L?;M;:M>;DJ>;?C7=;<?B;?IEF;D;: .>;H;<EH; 7IK8IJ7DJ?7B

               7CEKDJE<J?C;?ID;9;II7HOJE;NJH79J7D:IEHJJ>HEK=>:7J7J>7J?I9ED9;7B;:EH

               ;D9HOFJ;: JE :;J;HC?D; M>;J>;H ?J ?I 9EDJH787D:  ;L?:;D9;  <HK?JI  EH

               ?DIJHKC;DJ7B?J?;IE<79H?C; 

            ::?J?ED7BBO 87I;:KFEDCOJH7?D?D=7D:?D<EHC7J?EDH;B7J;:JEC;8O7=;DJI7D:

EJ>;HI ?DLEBL;: ?D J>; <EH;DI?9 ;N7C?D7J?ED E< 9ECFKJ;HI  # ADEM J>7J HEKJ;HI  CE:;CI  7D:


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         Case 3:21-mb-04346-CDB Document 1-1 Filed 11/08/21 Page 60 of 86

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D;JMEHA;GK?FC;DJKI;:JE9EDD;9J9ECFKJ;HIJEJ>;#DJ;HD;JE<J;DFHEL?:;L7BK78B;;L?:;D9;E< 

7D:7H;?DIJHKC;DJ7B?J?;IE< 79H?C; .>?I?I;GK7BBOJHK;E<M?H;B;IIHEKJ;HI M>?9>9H;7J;BE97B?P;:

D;JMEHAIJ>7J7BBEM?D:?L?:K7BIJE9EDD;9JJEJ>;#DJ;HD;JM?H;B;IIBO .>EK=>M?H;B;IID;JMEHAI

C7O8;I;9KH;:?DJ>7JJ>;OH;GK?H;7D?D:?L?:K7BJE;DJ;H7D7BF>7DKC;H?9A;OEHF7IIMEH:8;<EH;

=7?D?D=799;IIJEJ>;D;JMEHA EHKDI;9KH;:?DJ>7J7D?D:?L?:K7BC7O799;IIJ>;M?H;B;IID;JMEHA

M?J>EKJ7A;OEHF7IIMEH: 1?H;B;IIHEKJ;HI<EH8EJ>I;9KH;:7D:KDI;9KH;:M?H;B;IID;JMEHAI

C7O O?;B: I?=D?<?97DJ ;L?:;D9; E<  EH I;HL; 7I ?DIJHKC;DJ7B?J?;I E<  7 9H?C;S?D9BK:?D=  <EH

;N7CFB;  I;HL?D= 7I J>; ?DIJHKC;DJ J>HEK=> M>?9> J>; F;HF;JH7JEH E< J>; #DJ;HD;J 87I;: 9H?C;

9EDD;9J;:JEJ>;#DJ;HD;J7D: FEJ;DJ?7BBO 9EDJ7?D?D=BE==?D=?D<EHC7J?EDH;=7H:?D=J>;J?C;7D:

:7J;E<7F;HF;JH7JEHID;JMEHA79J?L?JO7IM;BB7I?:;DJ?<O?D=?D<EHC7J?ED<EHJ>;IF;9?<?9:;L?9;I 

J>;F;HF;JH7JEHKI;:JE799;IIJ>;D;JMEHA 'EH;EL;H #ADEMJ>7J?D:?L?:K7BIM>E>7L;I;JKF

;?J>;H7I;9KH;:EHKDI;9KH;:M?H;B;IID;JMEHA?DJ>;?HH;I?:;D9;7H;E<J;D7CED=J>;FH?C7HOKI;HI

E<J>7JM?H;B;IID;JMEHA 

             7I;: ED J>; <EH;=E?D=  7D: 9EDI?IJ;DJ M?J> ,KB; ;    J>; M7HH7DJ # 7C

7FFBO?D=<EHMEKB:F;HC?JI;?P?D= ?C7=?D= EHEJ>;HM?I;9EFO?D=IJEH7=;C;:?7J>7JH;7IED78BO

7FF;7HJE9EDJ7?DIEC;EH7BBE<J>;;L?:;D9;:;I9H?8;:?DJ>;M7HH7DJ 7D:MEKB:7KJ>EH?P;7B7J;H

H;L?;M E< J>; C;:?7 EH ?D<EHC7J?ED 9EDI?IJ;DJ M?J> J>; M7HH7DJ  .>; B7J;H H;L?;M C7O H;GK?H;

J;9>D?GK;I ?D9BK:?D=8KJDEJB?C?J;:JE9ECFKJ;H 7II?IJ;:I97DIE<J>;;DJ?H;C;:?KC J>7JC?=>J

;NFEI;C7DOF7HJIE<7>7H::H?L;JE>KC7D?DIF;9J?ED?DEH:;HJE:;J;HC?D;M>;J>;H?J?I;L?:;D9;

:;I9H?8;:8OJ>;M7HH7DJ 

             #J?IFEII?8B;J>7J7J7IJJ>L; -K?J; B7=IJ7<< H?PED7 JE?D9BK:;

 K:?  H?PED7 &?9;DI; *B7J; & %   .EOEJ7 ,KDD;H H?PED7 &?9;DI; *B7J;

    &,.,%, 7D:(?II7D.HK9AH?PED7&?9;DI;*B7J;32M?BB9EDJ7?DIJEH7=;C;:?7


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        Case 3:21-mb-04346-CDB Document 1-1 Filed 11/08/21 Page 61 of 86

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J>7J7H;FH;:EC?D7DJBOKI;: 7D:F;H>7FIEMD;: 8OF;HIEDIM>E7H;DEJIKIF;9J;:E<79H?C; #<

?J?IDED;J>;B;II:;J;HC?D;:J>7JJ>7J?J?IFEII?8B;J>7JJ>;J>?D=I:;I9H?8;:?DJ>?IM7HH7DJ9EKB:

8;<EKD:ED7DOE<J>EI;9ECFKJ;HIEHIJEH7=;C;:?7 J>;M7HH7DJ7FFB?;:<EHMEKB:F;HC?JJ>;

I;?PKH;7D:H;L?;ME<J>EI;?J;CI7IM;BB 

                                  "

               # ADEM <HEC CO JH7?D?D= 7D: ;NF;H?;D9;  7I M;BB 7I <HEC ?D<EHC7J?ED <EKD: ?D

FK8B?9BO 7L7?B78B; C7J;H?7BI FK8B?I>;: 8O :;L?9; C7DK<79JKH;HI  J>7J C7DO ;B;9JHED?9 :;L?9;I 

F7HJ?9KB7HBOD;M;HCE8?B;:;L?9;I7D:B7FJEFI E<<;HJ>;?HKI;HIJ>;78?B?JOJEKDBE9AJ>;:;L?9;

J>HEK=> 8?EC;JH?9 <;7JKH;I ?D B?;K E< 7 DKC;H?9 EH 7BF>7DKC;H?9 F7II9E:; EH F7IIMEH:  .>;I;

8?EC;JH?9 <;7JKH;I ?D9BK:; <?D=;HFH?DJ I97DD;HI  <79?7B H;9E=D?J?ED <;7JKH;I 7D: ?H?I H;9E=D?J?ED

<;7JKH;I  -EC; :;L?9;I E<<;H 7 9EC8?D7J?ED E< J>;I; 8?EC;JH?9 <;7JKH;I  7D: J>; KI;H E< IK9>

:;L?9;I97DI;B;9JM>?9><;7JKH;IJ>;OMEKB:B?A;JEKJ?B?P; 

             7   #<7:;L?9;?I;GK?FF;:M?J>7<?D=;HFH?DJI97DD;H 7KI;HC7O;D78B;J>;78?B?JOJE

                 KDBE9A J>; :;L?9; J>HEK=> >?I EH >;H <?D=;HFH?DJI  EH ;N7CFB;  FFB; E<<;HI 7

                 <;7JKH;97BB;:T.EK9># UM>?9>7BBEMI7KI;HJEH;=?IJ;HKFJE<?L;<?D=;HFH?DJI

                 J>7J 97D KDBE9A 7 :;L?9;  )D9; 7 <?D=;HFH?DJ ?I H;=?IJ;H;:  7 KI;H 97D KDBE9A J>;

                 :;L?9;8OFH;II?D=J>;H;B;L7DJ<?D=;HJEJ>;:;L?9;WI.EK9>#I;DIEH M>?9>?I

                 <EKD:?DJ>;HEKD:8KJJEDE<J;DH;<;HH;:JE7IJ>;T>EC;U8KJJED BE97J;:7JJ>;

                 8EJJEC9;DJ;HE<J>;<HEDJE<J>;:;L?9; .>;<?D=;HFH?DJI;DIEHI<EKD:ED:;L?9;I

                 FHE:K9;: 8O EJ>;H C7DK<79JKH;HI >7L; :?<<;H;DJ D7C;I 8KJ EF;H7J; I?C?B7HBO JE

                 .EK9>#

             8   #< 7 :;L?9; ?I ;GK?FF;: M?J> 7 <79?7B H;9E=D?J?ED <;7JKH;  7 KI;H C7O ;D78B; J>;

                 78?B?JOJEKDBE9AJ>;:;L?9;J>HEK=>>?IEH>;H<79;  EH;N7CFB; J>?I<;7JKH;?I


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    Case 3:21-mb-04346-CDB Document 1-1 Filed 11/08/21 Page 62 of 86

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
          7L7?B78B; ED 9;HJ7?D D:HE?: :;L?9;I 7D: ?I 97BB;: T.HKIJ;: 79; U  KH?D= J>;

          .HKIJ;: 79;H;=?IJH7J?EDFHE9;II J>;KI;H>EB:IJ>;:;L?9;?D<HEDJE<>?IEH>;H

          <79; .>;:;L?9;WI<HEDJ <79?D=97C;H7J>;D7D7BOP;I7D:H;9EH:I:7J787I;:EDJ>;

          KI;HWI <79?7B 9>7H79J;H?IJ?9I  .>; :;L?9; 97D J>;D 8; KDBE9A;:?< J>; <HEDJ <79?D=

          97C;H7:;J;9JI7<79;M?J>9>7H79J;H?IJ?9IJ>7JC7J9>J>EI;E<J>;H;=?IJ;H;:<79; 

            79?7BH;9E=D?J?ED<;7JKH;I<EKD:ED:;L?9;IFHE:K9;:8OEJ>;HC7DK<79JKH;HI>7L;

          :?<<;H;DJD7C;I8KJEF;H7J;I?C?B7HBOJE.HKIJ;: 79; 

       9  #<7:;L?9;?I;GK?FF;:M?J>7D?H?I H;9E=D?J?ED<;7JKH; 7KI;HC7O;D78B;J>;78?B?JO

          JE KDBE9A J>; :;L?9; M?J> >?I EH >;H ?H?I;I  EH ;N7CFB;  ED 9;HJ7?D '?9HEIE<J

          :;L?9;I  J>?I <;7JKH; ?I 97BB;: T1?D:EMI ";BBE U  KH?D= J>; 1?D:EMI ";BBE

          H;=?IJH7J?ED 7KI;HH;=?IJ;HI>?IEH>;H?H?I;I8O>EB:?D=J>;:;L?9;?D<HEDJE<>?IEH

          >;H <79;  .>; :;L?9; J>;D :?H;9JI 7D ?D<H7H;: B?=>J JEM7H: J>; KI;HWI <79; 7D:

          79J?L7J;I7D?D<H7H;: I;DI?J?L;97C;H7JEH;9EH::7J787I;:EDF7JJ;HDIM?J>?DJ>;

          KI;HWI ?H?I;I  .>; :;L?9; 97D J>;D 8; KDBE9A;: ?< J>; ?D<H7H;: I;DI?J?L; 97C;H7

          :;J;9JIJ>;H;=?IJ;H;:?H?I;I #H?I H;9E=D?J?ED<;7JKH;I<EKD:ED:;L?9;IFHE:K9;:8O

          EJ>;HC7DK<79JKH;HI>7L;:?<<;H;DJD7C;I8KJEF;H7J;I?C?B7HBOJE1?D:EMI";BBE 

       :  #D CO JH7?D?D= 7D: ;NF;H?;D9;  KI;HI E< ;B;9JHED?9 :;L?9;I E<J;D ;D78B; J>;

          7<EH;C;DJ?ED;: 8?EC;JH?9 <;7JKH;I 8;97KI; J>;O 7H; 9EDI?:;H;: JE 8; 7 CEH;

          9EDL;D?;DJ M7O JE KDBE9A 7 :;L?9; J>7D 8O ;DJ;H?D= 7 DKC;H?9 EH 7BF>7DKC;H?9

          F7II9E:; EH F7IIMEH:  'EH;EL;H  ?D IEC; ?DIJ7D9;I  8?EC;JH?9 <;7JKH;I 7H;

          9EDI?:;H;: JE 8; 7 CEH; I;9KH; M7O JE FHEJ;9J 7 :;L?9;WI 9EDJ;DJI  .>?I ?I

          F7HJ?9KB7HBOJHK;M>;DJ>;KI;HIE<7:;L?9;7H;;D=7=;:?D9H?C?D7B79J?L?J?;I7D:

          J>KI>7L;7>;?=>J;D;:9ED9;HD78EKJI;9KH?D=J>;9EDJ;DJIE<7:;L?9; 


                                               
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Case 3:21-mb-04346-CDB Document 1-1 Filed 11/08/21 Page 63 of 86

                                        

   ;   I :?I9KII;: ?D J>?I <<?:7L?J  # >7L; H;7IED JE 8;B?;L; J>7J ED; EH CEH; :?=?J7B

       :;L?9;I M?BB 8; <EKD: :KH?D= J>; I;7H9>  .>; F7II9E:; EH F7IIMEH: J>7J MEKB:

       KDBE9AJ>;:;L?9;IIK8@;9JJEI;7H9>KD:;HJ>?IM7HH7DJ9KHH;DJBO?IDEJADEMDJE

       B7M;D<EH9;C;DJ .>KI B7M;D<EH9;C;DJF;HIEDD;BC7ODEJEJ>;HM?I;8;78B;JE

       799;IIJ>;:7J79EDJ7?D;:M?J>?DJ>;:;L?9;I C7A?D=J>;KI;E<8?EC;JH?9<;7JKH;I

       D;9;II7HOJEJ>;;N;9KJ?EDE<J>;I;7H9>7KJ>EH?P;:8OJ>?IM7HH7DJ

   <   #7BIEADEM<HECCOJH7?D?D=7D:;NF;H?;D9; 7IM;BB7I<HEC?D<EHC7J?ED<EKD:?D

       FK8B?9BO 7L7?B78B; C7J;H?7BI ?D9BK:?D= J>EI; FK8B?I>;: 8O :;L?9; C7DK<79JKH;HI

       J>7J8?EC;JH?9<;7JKH;IM?BBDEJKDBE9A7:;L?9;?DIEC;9?H9KCIJ7D9;I;L;D?<IK9>

       <;7JKH;I7H;;D78B;: .>?I97DE99KHM>;D7:;L?9;>7I8;;DH;IJ7HJ;: ?D79J?L; EH

       >7I DEJ 8;;D KDBE9A;: <EH 7 9;HJ7?D F;H?E: E< J?C;  EH ;N7CFB;  FFB; :;L?9;I

       97DDEJ8;KDBE9A;:KI?D=.EK9>#M>;D CEH;J>7D>EKHI>7I;B7FI;:I?D9;

       J>;:;L?9;M7IB7IJKDBE9A;:EH  M>;DJ>;:;L?9;>7IDEJ8;;DKDBE9A;:KI?D=

       7<?D=;HFH?DJ<EH>EKHI%2(J>;F7II9E:;EHF7IIMEH:>7IDEJ8;;D;DJ;H;:?DJ>;

       B7IJ  :7OI  -?C?B7HBO  9;HJ7?D D:HE?: :;L?9;I 97DDEJ 8; KDBE9A;: M?J> .HKIJ;:

        79;?<J>;:;L?9;>7IH;C7?D;:?D79J?L;<EH<EKH>EKHI ?EC;JH?9<;7JKH;I<HEC

       EJ>;H 8H7D:I 97HHO I?C?B7H H;IJH?9J?EDI  .>KI  ?D J>; ;L;DJ B7M ;D<EH9;C;DJ

       F;HIEDD;B ;D9EKDJ;H 7 BE9A;: :;L?9; ;GK?FF;: M?J> 8?EC;JH?9 <;7JKH;I  J>;

       EFFEHJKD?JOJEKDBE9AJ>;:;L?9;J>HEK=>78?EC;JH?9<;7JKH;C7O;N?IJ<EHEDBO7

       I>EHJJ?C;

   =   K;JEJ>;<EH;=E?D= ?<B7M;D<EH9;C;DJF;HIEDD;B;D9EKDJ;H7DO:;L?9;IJ>7J7H;

       IK8@;9JJEI;?PKH;FKHIK7DJJEJ>?IM7HH7DJ7D:C7O8;KDBE9A;:KI?D=ED;E<J>;

       7<EH;C;DJ?ED;:8?EC;JH?9<;7JKH;I #H;GK;IJF;HC?II?EDJE FH;IIEHIM?F;J>;


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       Case 3:21-mb-04346-CDB Document 1-1 Filed 11/08/21 Page 64 of 86

                                                 

               <?D=;HI ?D9BK:?D= J>KC8I  E< $  &EF;P JE J>; <?D=;HFH?DJ I97DD;H E< J>; :;L?9;I

               <EKD:7JJ>;-/$.*,'#--EHED$ &EF;P >EB:J>;:;L?9;I<EKD:7J

               J>;-/$.*,'#--?D<HEDJE<J>;<79;E<$ &EF;P7D:79J?L7J;J>;<79?7B

               H;9E=D?J?ED<;7JKH;7D: EH >EB:J>;:;L?9;I<EKD:7JJ>;-/$.*,'#--

               ?D <HEDJ E< J>; <79; E< $  &EF;P 7D: 79J?L7J; J>; ?H?I H;9E=D?J?ED <;7JKH;  <EH J>;

               FKHFEI; E< 7JJ;CFJ?D= JE KDBE9A J>; :;L?9;I ?D EH:;H JE I;7H9> J>; 9EDJ;DJI 7I

               7KJ>EH?P;: 8O J>?I M7HH7DJ  .>; FHEFEI;: M7HH7DJ :E;I DEJ 7KJ>EH?P; B7M

               ;D<EH9;C;DJJEH;GK;IJJ>7J$ &EF;PIJ7J;EHEJ>;HM?I;FHEL?:;J>;F7IIMEH:EH7DO

               EJ>;H C;7DI J>7J C7O 8; KI;: JE KDBE9A EH 799;II J>; :;L?9;I  'EH;EL;H  J>;

               FHEFEI;:M7HH7DJ:E;IDEJ7KJ>EH?P;B7M;D<EH9;C;DJJE7IA$ &EF;PJE?:;DJ?<O

               J>; IF;9?<?9 8?EC;JH?9 9>7H79J;H?IJ?9I ?D9BK:?D= J>; KD?GK; <?D=;HI  EH EJ>;H

               F>OI?97B<;7JKH;I J>7JC7O8;KI;:JEKDBE9AEH799;IIJ>;:;L?9;I 

                                             !

             # IK8C?J J>7J J>?I 7<<?:7L?J IKFFEHJI FHE878B; 97KI; J>7J J>; ;L?:;D9;  <HK?JI 7D:

?DIJHKC;DJ7B?J?;IE<L?EB7J?EDIE</ -  Q'7?B H7K:/ -  Q1?H; H7K:

/ -   Q  EDIF?H79O  /- Q  ?:?D= 7D: 8;JJ?D=  / -   Q  'ED;O

&7KD:;H?D=  / -   Q  D=7=?D= ?D 'ED;J7HO .H7DI79J?EDI ?D *HEF;HJO ;H?L;: <HEC

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Case 3:21-mb-04346-CDB Document 1-1 Filed 11/08/21 Page 66 of 86




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Case 3:21-mb-04346-CDB Document 1-1 Filed 11/08/21 Page 67 of 86




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Case 3:21-mb-04346-CDB Document 1-1 Filed 11/08/21 Page 68 of 86




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Case 3:21-mb-04346-CDB Document 1-1 Filed 11/08/21 Page 69 of 86




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Case 3:21-mb-04346-CDB Document 1-1 Filed 11/08/21 Page 70 of 86




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Case 3:21-mb-04346-CDB Document 1-1 Filed 11/08/21 Page 71 of 86




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Case 3:21-mb-04346-CDB Document 1-1 Filed 11/08/21 Page 73 of 86




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Case 3:21-mb-04346-CDB Document 1-1 Filed 11/08/21 Page 74 of 86




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Case 3:21-mb-04346-CDB Document 1-1 Filed 11/08/21 Page 75 of 86




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Case 3:21-mb-04346-CDB Document 1-1 Filed 11/08/21 Page 78 of 86




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Case 3:21-mb-04346-CDB Document 1-1 Filed 11/08/21 Page 79 of 86




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Case 3:21-mb-04346-CDB Document 1-1 Filed 11/08/21 Page 80 of 86




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             Case 3:21-mb-04346-CDB Document 1-1 Filed 11/08/21 Page 81 of 86

                                  Personal Money Management Co.
                                2021 Investment Account Performance
                                              Date: July 31, 2021



                                                        Risk Level - Risk Level -    Risk Level -
                                                       Conservative   Moderate        Aggressive
                                      Actual  Actual Stable Growth 'Fair-Weather'   'All-Weather'
                          S&P 500      Point % Gain or   & Income      Strategy        Strategy
         Date              Index      Change - % Loss   Investment   Investment      Investment

  Historical Averages
20-Year Average Annual Return % (2001-2020)           6.4%          15.2%   27.3%      42.4%
    2020 In Review
    December, 2020         3,756.07    134.44         3.7%          0.8%    4.7%        4.7%
    4th Quarter, 2020      3,756.07    393.07        11.7%          2.5%    22.3%      25.0%

    2021 By Month
     January, 2021         3,714.24     (41.83)       -1.1%         0.9%    2.5%        2.5%
     February, 2021        3,811.15      96.91        2.6%          1.6%    5.5%        5.5%
      March, 2021          3,972.89    161.74         4.2%          1.3%    7.5%        7.5%
       April, 2021         4,181.17    208.28         5.2%          1.5%    5.4%        5.4%
       May, 2021           4,204.11      22.94        0.5%          1.2%    2.7%        4.8%
       June, 2021          4,297.50      93.39        2.2%          1.2%    2.6%        4.0%
       July, 2021          4,395.26      97.76        2.3%          1.3%    2.8%        2.8%
   2021 By Quarter
    1st Quarter, 2021      3,972.89    216.82         5.8%          3.9%    16.3%      16.3%
   2nd Quarter, 2021       4,297.50    324.61         8.2%          4.0%    11.1%      14.9%
    3rd Quarter, 2021      4,395.26      97.76        2.5%          1.3%    2.8%        2.8%
  2021 Year-To-Date
    July Year-To-Date      4,395.26    639.19        17.0%          9.5%    33.3%      37.3%




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       Case 3:21-mb-04346-CDB Document 1-1 Filed 11/08/21 Page 82 of 86
                         Personal Money Management Co.
                                   PO Box 31400
                             Flagstaff, AZ 86003-1400
                              Office: (928) 714-0473
                                Cell: (408) 203-9104

                          Bank Wire Transfer Instructions

Below is the banking information which you will need if you plan to send a bank wire transfer.

Account Name:        Personal Money Management Co.

Address:             467 Saratoga Avenue, #609
                     San Jose, CA 95129

Routing Number:      121000248

Account Number:             5813

Bank Name:          Wells Fargo Bank, NA
Bank Address:       420 Montgomery Street
                    San Francisco, CA

Reference No.       5689-0451-1




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Case 3:21-mb-04346-CDB Document 1-1 Filed 11/08/21 Page 83 of 86




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Case 3:21-mb-04346-CDB Document 1-1 Filed 11/08/21 Page 84 of 86




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Case 3:21-mb-04346-CDB Document 1-1 Filed 11/08/21 Page 85 of 86




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Case 3:21-mb-04346-CDB Document 1-1 Filed 11/08/21 Page 86 of 86




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